                            Case 2:21-cv-01572-DMG-SK            Document 1      Filed 02/19/21    Page 1 of 81 Page ID #:1



                                       1   STEPHEN E. RONK (SBN: 164333)
                                           sronk@grsm.com
                                       2   LINH T. HUA (SBN: 247419)
                                           lhua@grsm.com
                                       3   ASHLEY N. BATISTE (SBN: 317526)
                                           abatiste@grsm.com
                                       4   GORDON REES SCULLY MANSUKHANI, LLP
                                           633 West Fifth Street, 52nd floor
                                       5   Los Angeles, CA 90071
                                           Telephone: (213) 576-5007
                                       6   Facsimile: (213) 680-4470
                                       7   Attorneys for Defendant
                                           G4S SECURE SOLUTIONS (USA) INC.
                                       8
                                       9                       UNITED STATES DISTRICT COURT
                                      10                     CENTRAL DISTRICT OF CALIFORNIA
                                      11   ALEXANDER D. MONTERO, an                     ) CASE NO.
Gordon Rees Scully Mansukhani, LLP




                                           individual,                                  )
  633 West Fifth Street, 52nd floor




                                      12                                                ) DEFENDANT G4S SECURE
                                                                    Plaintiff,          ) SOLUTIONS (USA) INC.’S
      Los Angeles, CA 90071




                                      13                                                ) NOTICE OF REMOVAL
                                                 vs.                                    ) PURSUANT      TO 28 U.S.C. §§
                                      14                                                ) JURISDICTION) (DIVERSITY
                                                                                          1332  AND   1441(B)
                                           G4S SECURE SOLUTIONS (USA)
                                      15   INC., a Florida corporation, G4S             )
                                           COMPLIANCE &                                 ) District Judge: TBA
                                      16   INVESTIGATIONS, INC.,                        ) Magistrate Judge: TBA
                                           erroneously sued as G4S                      )
                                      17   COMPLIANCE INVESTIGATORS                     ) Complaint Filed: 12/14/2020
                                           INC., a North Carolina corporation;          ) Trial Date: Not Yet Assigned
                                      18   and DOES 1 through 20, inclusive,            )
                                                                                        )
                                      19                            Defendants.
                                      20
                                      21         TO THE CLERK AND HONORABLE JUDGE OF THE UNITED
                                      22   STATES      DISTRICT     COURT        FOR      THE     CENTRAL     DISTRICT        OF
                                      23   CALIFORNIA:
                                      24         PLEASE TAKE NOTICE that Defendant G4S SECURE SOLUTIONS
                                      25   (USA) INC. (“G4S” or “Defendant”) without waiving its right to assert any and all
                                      26   applicable defenses, files this Notice of Removal in accordance with 28 U.S.C. §§
                                      27   1332(a), 1441 and 1446 to remove this action from the California Superior Court for
                                      28   the County of Los Angeles to this Court. Further, pursuant to 28 U.S.C. §§ 1132(a)
                                                                                    1
                                             DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                             28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK               Document 1     Filed 02/19/21   Page 2 of 81 Page ID #:2



                                       1   and 1441(b)(2)(A), Defendant G4S COMPLIANCE & INVESTIGATIONS, INC.
                                       2   (“G4S C&I”), erroneously sued and served as G4S Compliance and Investigators
                                       3   Inc., consents to G4S’s Notice of Removal. (G4S C&I Consent to Removal,
                                       4   concurrently filed herewith). G4S states the following in support of this Notice of
                                       5   Removal:
                                       6   I.      THE STATE COURT ACTION
                                       7           1.     On December 14, 2020, Plaintiff Alexander D. Montero (“Plaintiff”),
                                       8   filed a Complaint against G4S and G4S C&I in Los Angeles County Superior
                                       9   Court in the matter entitled Alexander D. Montero, an individual v. G4S Secure
                                      10   Solutions (USA), Inc., a Florida Corporation, G4S COMPLIANCE &
                                      11   INVESTIGATIONS, INC., a North Carolina corporation; and DOES 1 through 20,
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12   inclusive, Case No. 20STCV47683 (the “State Court Action”). (Declaration of
      Los Angeles, CA 90071




                                      13   Ashley N. Batiste [“Batiste Decl.”], ¶ 2). In accordance with 28 U.S.C. § 1446(a), a
                                      14   true and correct copy of the Complaint, Summons, and all process and pleadings,
                                      15   which were deemed served upon G4S in the State Court Action on or about January
                                      16   22, 2021, are collectively attached to this Notice as Exhibit A. (Id., at ¶ 3).
                                      17           2.     Plaintiff’s Complaint arises out of his employment with G4S and G4S
                                      18   C&I and alleges the following causes of actions: (1) Discrimination in Violation of
                                      19   Gov’t Code §§ 12940, et seq.; (2) Retaliation in Violation of Gov’t Code §§12940,
                                      20   et seq.; (3) Failure to Prevent Discrimination and Retaliation in Violation of Gov’t
                                      21   Code §§12940(k); (4) Failure to Provide Reasonable Accommodations in Violation
                                      22   of Gov’t Code §§ 12940, et seq.; (5) Failure to Engage in a Good Faith Interactive
                                      23   Process in Violation of Gov’t Code §§ 12940, et seq.; (6) Declaratory Judgment;
                                      24   (7) Wrongful Termination in Violation of Public Policy; (8) Failure to Pay Wages
                                      25   in Violation of Cal. Labor Code §§201, 1194; (9) Failure to Provide Meal and Rest
                                      26   Periods in Violation of Cal. Labor Code §§226.7, 512; (10) Failure to Provide
                                      27   Itemized Wage and Hour Statements in Violation of Cal. Labor Code §§226, et
                                      28
                                                                                      2
                                                DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                                28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK                Document 1     Filed 02/19/21   Page 3 of 81 Page ID #:3



                                       1   seq.; (11) Waiting Time Penalties in Violation of Cal. Labor Code §§201-203; and
                                       2   (12) Unfair Competition in Violation of Bus. & Prof. Code §17200, et seq.
                                       3            3.     G4S disputes Plaintiff’s allegations, believes each of Plaintiff’s causes
                                       4   of action lacks merit, and denies that Plaintiff has been harmed in any way.
                                       5            4.     On January 22, 2021, G4S was served with the Summons and
                                       6   Complaint. (Batiste Decl., ¶ 3). On February 17, 2021, G4S C&I filed its Answer
                                       7   to Plaintiff’s Complaint. (Id., at ¶ 4; Exhibit B). This Notice of Removal is
                                       8   therefore timely pursuant to 28 U.S.C. § 1446(b).
                                       9            5.     A notice of removal will be filed with the Los Angeles County Superior
                                      10   Court in the State Court Action on February 19, 2021.
                                      11            6.     No further proceedings have occurred in the State Court Action.
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12            7.     For purpose of removal, “the citizenship of defendants sued under
      Los Angeles, CA 90071




                                      13   fictitious names shall be disregarded.” 28 U.S.C. § 1441(b)(1). Accordingly, the
                                      14   purported “Doe” defendants Plaintiff included in his Complaint are irrelevant for
                                      15   removal and jurisdictional purposes.
                                      16   II.      REMOVAL IS PROPER BASED UPON DIVERSITY OF
                                      17            CITIZENSHIP
                                      18            8.     The above-referenced action is a civil action for which this Court has
                                      19   original jurisdiction under the provisions of 28 U.S.C. § 1332, and is one that may
                                      20   be removed to this Court by G4S pursuant to 28 U.S.C. § 1441.
                                      21            9.     This Court has original jurisdiction over this action under 28 U.S.C. §
                                      22   1332 because: (a) the parties to this action are citizens of different states; and (b)
                                      23   the amount in controversy exceeds $75,000.
                                      24            A.      There Is Complete Diversity Between Plaintiff and G4S
                                      25            10.    There is (and was at the time Plaintiff initiated the State Court Action)
                                      26   complete diversity between Plaintiff and G4S. See 28 U.S.C. § 1332(a).
                                      27            11.    Based on Plaintiff’s I-9 and Complaint, Plaintiff is a citizen of the
                                      28   State of California. (Declaration of Aundrea Bond [“Bond Decl.”], ¶ 6, Ex. A).
                                                                                       3
                                                 DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                                 28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK             Document 1        Filed 02/19/21   Page 4 of 81 Page ID #:4



                                       1         12.    G4S is a corporation registered in the State of Florida, with its
                                       2   headquarters and principal place of business in Jupiter, Florida. For purposes of
                                       3   determining diversity jurisdiction, G4S is not a citizen of the State of California
                                       4   because it is neither incorporated nor does it have its principal place of business in
                                       5   California. (Declaration of Melinda Carrillo [“Carrillo Decl.”], ¶¶ 4-5).
                                       6         13.    G4S C&I is a corporation registered in the State of North Carolina,
                                       7   with its headquarters and principal place of business in Raleigh, North Carolina.
                                       8   For purposes of determining diversity jurisdiction, G4S C&I is not a citizen of the
                                       9   State of California because it is neither incorporated nor does it have its principal
                                      10   place of business in California. (Bond Decl., ¶¶ 4-5).
                                      11         B.     The Amount in Controversy Exceeds $75,000
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12         14.    In determining whether the jurisdictional amount is met, the Court
      Los Angeles, CA 90071




                                      13   considers all recoverable damages, including compensatory damages, emotional
                                      14   distress, punitive damages, and attorneys’ fees.          See, e.g., Galt G/S v. JSS
                                      15   Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).
                                      16         15.    A defendant’s notice of removal need only include a plausible
                                      17   allegation that the amount in controversy exceeds the jurisdictional threshold. See
                                      18   Dart Cherokee Basin Operating Co. LLC v. Owens, 135 S.Ct. 547, 554 (2014).
                                      19   Accordingly, G4S respectfully submits that the potentially recoverable damages
                                      20   alleged meet the jurisdictional minimum.
                                      21         16.    Plaintiff does not quantify his damages for alleged (1) unlawful
                                      22   discrimination; (2) alleged unlawful retaliation; (3) alleged failure to prevent
                                      23   discrimination and retaliation; (4) alleged failure to provide reasonable
                                      24   accommodations; (5) alleged failure to engage in a good faith interactive process; (6)
                                      25   declaratory judgment; and (7) alleged wrongful termination. However, he expressly
                                      26   pleads $54,076.00 in wage and hour damages and/or penalties in the Complaint.
                                      27   (See Ex. A, Prayer for Relief ¶¶ 2-6.)
                                      28
                                                                                       4
                                             DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                             28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK               Document 1    Filed 02/19/21   Page 5 of 81 Page ID #:5



                                       1               i.      Plaintiff’s Alleged Compensatory Damages More Likely Than
                                       2                       Not Exceed the $75,000 Jurisdictional Threshold.
                                       3         17.    G4S denies all of Plaintiff’s allegations and disputes he is entitled to
                                       4   any relief. Without prejudice to its defenses in this action, however, G4S stipulates
                                       5   the amount in controversy exceeds the $75,000 threshold for removal under 28
                                       6   U.S.C. § 1332(a).
                                       7         18.    As explained more fully below, when considering Plaintiff’s claims
                                       8   for (1) compensatory damages, (2) emotional distress, (3) punitive damages, and
                                       9   (4) attorneys’ fees, it is facially apparent from the Complaint that the claims likely
                                      10   exceed $75,000. (Ex. A, p. 25, Prayer for Relief.)
                                      11         19.    In his Complaint and Prayer for Relief, Plaintiff requests that he receive
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12   compensation for provided meal periods, unpaid rest periods, lost wages, inaccurate
      Los Angeles, CA 90071




                                      13   wage statements, and waiting time penalties. (See Batiste Decl., Ex. A, ¶¶ 106, 107,
                                      14   113, 114, 116, 124, 129, and 130.)
                                      15         20.    In his Complaint, Plaintiff requests $54,076.00 in wage and hour
                                      16   damages and penalties.
                                      17         21.    Upon information and belief, which G4S believes to be true, at the time
                                      18   of Plaintiff’s separation of employment with G4S, his hourly wage was $16.00, and
                                      19   he worked an average of 40 hours per week. (Carrillo Decl., ¶ 5).
                                      20         22.    Upon information and belief, which G4S C&I believes to be true, at the
                                      21   time of his separation of employment with G4S C&I in April 2020, his wage was
                                      22   $19.00 per “case” hour (meaning, the investigative time he spent on assignments)
                                      23   and $14.25 per “travel/administrative hour” (meaning, the time he spent traveling
                                      24   and the time he spent on administrative tasks including writing reports regarding his
                                      25   investigative assignments). (Bond Decl., ¶ 7).
                                      26         23.    Based on Plaintiff’s complaint, it is anticipated that Plaintiff will claim
                                      27   more than $93,520.00 (calculated at $19.00 x 8 hours per day x 5 days per week x
                                      28   52 weeks per year) in loss of income. Assuming Plaintiff claims loss of income
                                                                                     5
                                             DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                             28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK              Document 1    Filed 02/19/21   Page 6 of 81 Page ID #:6



                                       1   (without taking in consideration of future lost wages plus interest at the statutory
                                       2   rate), his total damages is approximately $93,596.00, when including his expressly
                                       3   pled wage and hour damages and penalties.
                                       4         24.    Because Plaintiff further requests compensatory damages for the
                                       5   alleged emotional distress damages, prejudgment interest, punitive damages, and
                                       6   attorneys’ fees and costs of suit, the preponderance of the evidence indicates the
                                       7   $75,000 amount in controversy is met.
                                       8                     ii.   Jury Verdicts in Similar Discrimination and Retaliation
                                       9                           Cases Illustrate that Plaintiff’s Alleged Damages Likely
                                      10                           Satisfy the $75,000 Jurisdictional Threshold
                                      11         25.    In addition to compensatory damages, Plaintiff alleges he has
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12   sustained non-economic damages in the form of emotional distress, including but
      Los Angeles, CA 90071




                                      13   not limited to anxiety, depression, headaches, medical expenses, expenses for
                                      14   psychological counseling and treatment, and requests judgment for these alleged
                                      15   damages. (Ex. A, ¶ 33.)
                                      16         26.    District Courts have relied on jury verdicts in other cases as evidence
                                      17   that the jurisdictional amount is met via emotional distress, precisely because
                                      18   claims for emotional distress tend to be substantial. See Saldana v. Home Depot
                                      19   USA, Inc., 2016 U.S. Dist. LEXIS 80064, at * 8-11 (E.D. Cal. June 20, 2016).
                                      20         27.    Employment discrimination cases involving similar claims have
                                      21   resulted in jury verdicts in excess of $75,000:
                                      22         In Jadwin v. County of Kern, 2009 U.S. Dist. LEXIS 72369 (E.D. Cal. Aug,
                                      23   6, 2009), the jury awarded the plaintiff $505,557 for his claims that he was
                                      24   demoted following medical leave, discriminated against due to his disability, his
                                      25   employer failed to accommodate his disability, and his employer failed to engage
                                      26   in the interactive process.
                                      27         In Ko v. The Square Group, LLC, 2014 WL 35555573 (Cal. Super. Ct., June
                                      28   16, 2014), the jury awarded the plaintiff $723,645 based on her claims that her
                                                                                    6
                                             DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                             28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK                Document 1     Filed 02/19/21    Page 7 of 81 Page ID #:7



                                       1   employer failed to accommodate her disability, failed to grant her leave, and
                                       2   wrongfully terminated her.
                                       3          28.      Based on the similarities between Plaintiff’s claims here and the
                                       4   claims assert in the above-referenced cases, Plaintiff’s emotional distress damages
                                       5   bring the total amount at stake in the instant action well above the $75,000
                                       6   jurisdictional threshold.
                                       7                      iii.   Attorneys’ Fee Awards in Similar Discrimination and
                                       8                             Retaliation Cases Indicate that Plaintiff’s Claim for
                                       9                             Attorneys’ Fees Likely Satisfy this Court’s $75,000
                                      10                             Jurisdictional Threshold
                                      11          29.      In addition to economic and non-economic damages, Plaintiff seeks
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12   reasonable attorneys’ fees. (Ex. A, p. 25, Prayer for Relief.)
      Los Angeles, CA 90071




                                      13          30.      This Court may consider attorneys’ fees in calculating the
                                      14   jurisdictional amount in controversy in discrimination and retaliation employment
                                      15   cases. Galt G/S, supra, 142 F.2d at 1155-56; see also Saldana, supra, 2016 U.S.
                                      16   Dist. LEXIS 8006422, at * 8-10.
                                      17          31.      Even in settlements before trial, a plaintiff’s attorneys’ fee award in an
                                      18   employment discrimination and/or retaliation case can be substantial. Here, the
                                      19   Court can reasonably anticipate that Plaintiff’s claims for attorneys’ fees will
                                      20   exceed the $75,000 threshold.
                                      21          32.      For all of these reasons, the preponderance of the evidence indicates
                                      22   the amount in controversy is met when considering all of the damages prayed for
                                      23   by Plaintiff.
                                      24   III.   VENUE IS PROPER IN THIS COURT
                                      25          33.      The place where Plaintiff filed the State Court Action, the California
                                      26   Superior Court for the County of Los Angeles, is located within the Central
                                      27   District of California. See 28 U.S.C. § 84(a). G4S, therefore, properly this Notice
                                      28   of Removal in this Court under 28 U.S.C. § 1441(a).
                                                                                       7
                                              DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                              28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
                            Case 2:21-cv-01572-DMG-SK                 Document 1    Filed 02/19/21     Page 8 of 81 Page ID #:8



                                       1   IV.      G4S SATISFIED 28 U.S.C. § 1446
                                       2            34.     Consistent with 28 U.S.C. § 1446(a), this Notice of Removal is
                                       3   accompanied by true and correct copies of all process, pleadings, and order served
                                       4   upon G4S in the State Court Action.
                                       5            35.     As set forth above, this Notice is both timely and proper under 28
                                       6   U.S.C. § 1446(a), (b).
                                       7            36.     Pursuant to 28 U.S.C. § 1446(d), G4S will provide written notice of
                                       8   this removal to Plaintiff and shall file a copy of this Notice with the Clerk of the
                                       9   Los Angeles County Superior Court, which shall effect the removal and the State
                                      10   Court Action shall not proceed further.
                                      11            37.     No previous application has been made for the relief requested in this
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12   Notice.
      Los Angeles, CA 90071




                                      13            WHEREFORE, G4S removes this action, now pending in the Superior Court
                                      14   of California for the County of Los Angeles, to this Court for all purposes, including
                                      15   trial.
                                      16            If any question arises as to the propriety of the removal of this action, G4S
                                      17   respectfully requests the opportunity to present a brief and oral argument in
                                      18   support of its position that this case is removable based on diversity jurisdiction.
                                      19
                                      20
                                      21   Dated:         February 19, 2021        GORDON REES SCULLY
                                                                                   MANSUKHANI, LLP
                                      22
                                      23
                                                                                   By:
                                      24                                                     Stephen E. Ronk
                                                                                             Linh T. Hua
                                      25                                                     Ashley N. Batiste
                                                                                             Attorneys for Defendant
                                      26                                                     G4S SECURE
                                                                                             SOLUTIONS (USA) INC.
                                      27
                                      28
                                                                                         8
                                              DEFENDANT GRS SECURE SOLUTIONS (USA) INC.’S NOTICE OF REMOVAL PURSUANT TO
                                              28 U.S.C. §§1332 AND 1441(B) (DIVERSITY JURISDICTION)
Case 2:21-cv-01572-DMG-SK   Document 1   Filed 02/19/21   Page 9 of 81 Page ID #:9




                Exhibit A
                    Case 2:21-cv-01572-DMG-SK                                          Document 1 Filed 02/19/21                                 Page 10 of 81 Page ID
                                                                                              #:10
                                                                                ,.'
Electronically FILED by Superior Court of California, County of Los Angeles on 17         20%gli:LV411,ggis rri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk

                                                                                                                                                                                  SUM-100
                                                                      SUMMONS                                                                      FOR COURT USE ONLY
                                                                                                                                                (SOLO PARA USO DE LA CORTE)
                                                               (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):

            G4S SECURESOLUTIO•    SA INC., a Florida corporation; G4S
            COMPLIANCE & INVESTIGATORS INC., a ort see attac ment]
           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE):

            ALEXANDER D. MONTERO, an individual,

             NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
             below.
                 You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
             served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
              case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
              Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
              the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
             may be taken without further warning from the court.
                 There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
              referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
              these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
              (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
              costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
             IAVISOI Lo han demandado. Si no responde dentro de 30 Bias, la code puede decidir en su contra sin escuchar su version. Lea la informaciOn a
             continuaciOn.
                 Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates para presentar una respuesta por escrito en esta
             code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
             en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
             Puede encontrar estos formularios de la code y mas informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
             biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentation, pida al secretario de la code
             que le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
             podra guitar su sueldo, dinero y bienes sin mas advertencia.
                Hay otros requisitos legales. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
             remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
             programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
             (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
             colegio de abogados locales. A VISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
             cualquierrecuperaciOn de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
             pagar el gravamen de la code antes de que la code pueda desechar el caso.
           The name and address of the court is:                                                                                    CASE NUMBER:
                                                                                                                                    (Namero del Caso):
           (El nombre y direccion de la code es): Los Angeles County Superior Court
                                                                                                                                       20ST CV 47683
            Central District
            111 N. Hill Street, Los Angeles, California 90012
            The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
            (El nombre, la direccion y e/ nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
             Ramin R. Younessi, Esq.; 3435 Wilshire Boulevard, Suite 2200, Los Angeles, CA 90010; (213) 480-6200

           DATE:                                                                Clerk, by Shorn R. Carter Executive Officer/ Clerk of Court                                        , Deputy
           (Fecha)     12/1412020                                               (Secretario) D. Williams                                                                            (Adjunto)
           (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
           (Para prueba de entrega de este citation use e/ formulario Proof of Service of Summons, (POS-010)).
                                             NOTICE TO THE PERSON SERVED: You are served
                                             1. I- 1 as an individual defendant.
            [SEAL]

                                             2.      as the person sued under the fictitious name of (specify):

                          e
                                                                 3. EX] on behalf of (specify): G4S Secure Solutions (USA) Inc., a Florida corporation

                      I.                                  C:          under EFLI CCP 416.10 (corporation)                                      CCP 416.60 (minor)
                              .40'.• y   :h:
                                                                                 CCP 416.20 (defunct corporation)                              CCP 416.70 (conservatee)
                 \:''>,
                                               .......„
                                                                                 CCP 416.40 (association or partnership) [                 1   CCP 416.90 (authorized person)
                                                                                   other (specify):
                                                                 4.        by personal delivery on (date):
                                                                                                                                                                                      Page 1 of 1

             Form Adopted for Mandatory Use                                                    SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
               Judicial Council of California                                                                                                                                 www.coudinfo.ca.gov
               SUM-100 [Rev. July 1, 2009]
        Case 2:21-cv-01572-DMG-SK                        Document 1 Filed 02/19/21                    Page 11 of 81 Page ID
                                                                #:11

                                                                                                                           SUM-200(A)
                                                                                              CASE NUMBER:
   SHORT TITLE:
   Alexander D. Montero v. G4S Secure Solutions (USA) Inc., et al.

                                                         INSTRUCTIONS FOR USE
  ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  ♦ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
    Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of party.):

    7        Plaintiff         7    Defendant    7   Cross-Complainant    7    Cross-Defendant

   Carolina corporation; and DOES 1 through 20, inclusive,




                                                                                                                 Page     2     of       2
                                                                                                                                     Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 20071                     Attachment to Summons
                   Case 2:21-cv-01572-DMG-SK                                   Document 1 Filed 02/19/21                                   Page 12 of 81 Page ID
Electronically FILED by                                                               #:12
                          perior Court of California, County of Los Angeles on 12/14/2020 01:13 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                                                                                       20STCV47683
                                        Assigned for all purposes to: Stanley Mosk'Courthouse, Judicial Officer: Randolph Hammock




                    1     Ramin R. Younessi, Esq. (SBN 175020)
                          LAW OFFICES OF RAMIN R. YOUNESSI
                    2     A PROFESSIONAL LAW CORPORATION
                          3435 Wilshire Boulevard, Suite 2200
                    3     Los Angeles, California 90010
                          Telephone: (213) 480-6200
                    4     Facsimile: (213) 480-6201

                    5     Attorney for Plaintiff,
                          ALEXANDER D. MONTERO
                    6
                    7
                    8
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                                    FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                  10
                          ALEXANDER D. MONTERO, an individual,                                            Case No. 2 OS 7 CV 4 7 68 3
                  11
                                                                       Plaintiff,                         COMPLAINT FOR DAMAGES FOR:
                  12
                                      v.                                                                  1. DISCRIMINATION IN VIOLATION OF
                  13                                                                                         GOV'T CODE §§12940 ET SEQ.;
                          G4S SECURE SOLUTIONS (USA) INC., a
                  14      Florida corporation; G4S COMPLIANCE &                                           2. RETALIATION IN VIOLATION OF
                          INVESTIGATORS INC., a North Carolina                                               GOV'T CODE §§12940 ET SEQ.;
                  15      corporation; and DOES 1 through 20, inclusive,
                                                                                                          3. FAILURE TO PREVENT
                  16                                                  Defendants.                            DISCRIMINATION AND RETALIATION
                                                                                                             IN VIOLATION OF GOV'T CODE
                  17                                                                                         §12940(k);

                  18                                                                                      4. FAILURE TO PROVIDE REASONABLE
                                                                                                             ACCOMMODATIONS IN VIOLATION OF
                  19                                                                                         GOV'T CODE §§12940 ET SEQ.;

                  20                                                                                      5. FAILURE TO ENGAGE IN A GOOD
                                                                                                             FAITH INTERACTIVE PROCESS IN
                  21                                                                                         VIOLATION OF GOV'T CODE §§12940 ET
                                                                                                             SEQ.;
                  22
                                                                                                          6. FOR DECLARATORY JUDGMENT
                  23
                                                                                                          7. WRONGFUL TERMINATION IN
                  24                                                                                         VIOLATION OF PUBLIC POLICY;

                  25                                                                                      8. FAILURE TO PAY WAGES (CAL. LABOR
                                                                                                             CODE §§201, 1194);
                  26
                                                                                                          9. FAILURE TO PROVIDE MEAL AND
                  27                                                                                         REST PERIODS (CAL. LABOR CODE
                                                                                                             §§226.7, 512);
                  28



                                                                                                        -1-
                                                                                     COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21              Page 13 of 81 Page ID
                                              #:13




                                                          10. FAILURE TO PROVIDE ITEMIZED
 1                                                            WAGE AND HOUR STATEMENTS (CAL.
                                                              LABOR CODE §§226, ET SEQ.);
2
                                                          11. WAITING TIME PENALTIES (CAL.
 3                                                            LABOR CODE §§201-203); AND
 4                                                        12. UNFAIR COMPETITION (BUS. & PROF.
                                                              CODE §17200 ET SEQ.);
 5
 6                                                                   DEMAND OVER $25,000
 7                                                         [DEMAND FOR JURY TRIAL]
 8          COMES NOW PLAINTIFF, ALEXANDER D. MONTERO, and for causes of action against

 9   the Defendants and each of them, alleges as follows:

10
11                                              JURISDICTION

12          1.     This Court is the proper court, and this action is properly filed in Los Angeles County,
13   because Defendants' obligations and liability arise therein, because Defendants maintain offices and
14   transact business within Los Angeles County, and because the work that is the subject of this action was

15   performed by Plaintiff in Los Angeles County.

16
17                                                 THE PARTIES

18          2.      Plaintiff, ALEXANDER D. MONTERO, is and at all times relevant hereto was a resident

19   of the County of Los Angeles, State of California.

20          3.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

21   hereto, Defendant G4S SECURE SOLUTIONS (USA) INC. (hereinafter referred to as "SECURE

22   SOLUTIONS") was and is a Florida corporation doing business at:

23                  a.     10390 Commerce Center Drive, Suite 100, in the City of Rancho Cucamonga, in

24   the County of San Bernardino, State of California.

25                  b.     4929 Wilshire Boulevard, Suite 601, in the City of Los Angeles, in the County of

26   Los Angeles, State of California; and

27                  c.     5655 Lindero Canyon Road, Suite 504, in the City of Westlake Village, in the

28   County of Los Angeles, State of California;



                                                          -2-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21               Page 14 of 81 Page ID
                                                #:14




 1           4.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
 2   hereto, Defendant G4S COMPLIANCE & INVESTIGATORS INC. (hereinafter referred to as
 3   "COMPLIANCE AND INVESTIGATORS") was and is a North Carolina corporation doing business at
 4   10390 Commerce Center Drive, Suite 100, in the City of Rancho Cucamonga, in the County of San

 5   Bernardino, State of California.

 6           5.     SECURE SOLUTIONS and COMPLIANCE AND INVESTIGATORS are hereinafter

 7   collectively referred to as "Employers."

 8           6.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

 9   hereto, Employers owned and operated a private security and investigation company.

10           7.     At all times relevant herein, Employers and DOES 1-20 were Plaintiffs employers, joint

11   employers and/or special employers within the meaning of Government Code §§12926, subdivision (d),

12   12940, subdivisions (a), (h), (1), (h)(3)(A), and (i), and 12950, and regularly employ five (5) or more

13   persons and are therefore subject to the jurisdiction of this Court.

14          8.      At all times relevant herein, Employers and DOES 1-20 were Plaintiff's employers, joint

15   employers and/or special employers within the meaning of the Labor Code and Industrial Welfare

16   Commission Order No. 4-2001 and are each any "employer or other person acting on behalf of an

17   employer" as such term is used in Labor Code section 558, and liable to Plaintiff on that basis.

18          9.      The true names and capacities, whether individual, corporate, associate, or otherwise, of

19   the Defendants named herein as DOES 1-20, inclusive, are unknown to Plaintiff at this time and therefore

20   said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this complaint to

21   insert the true names and capacities of said Defendants when the same become known to Plaintiff.

22   Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously named

23   Defendants is responsible for the wrongful acts alleged herein and is therefore liable to Plaintiff as alleged

24   hereinafter.

25          10.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

26   hereto, Defendants, and each of them, were the agents, employees, managing agents, supervisors,

27   coconspirators, parent corporation, joint employers, alter egos, successors, and/or joint ventures of the

28   other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part



                                                          -3-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21                Page 15 of 81 Page ID
                                                #:15




 1   within the course and scope of said agency, employment, conspiracy, joint employer, alter ego status,
2    successor status and/or joint venture and with the permission and consent of each of the other Defendants.
3           11.     Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and each
4    of them, including those defendants named as DOES 1-20, acted in concert with one another to commit
 5   the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced one another in the

 6   wrongful acts alleged herein, and/or attempted to do so, including pursuant to Government Code

 7   §12940(0. Plaintiff is further informed and believes, and based thereupon alleges, that Defendants, and

 8   each of them, including those defendants named as DOES 1-20, and each of them, formed and executed

 9   a conspiracy or common plan pursuant to which they would commit the unlawful acts alleged herein,

10   with all such acts alleged herein done as part of and pursuant to said conspiracy, intended to cause and

11   actually causing Plaintiff harm.

12          12.     Whenever and wherever reference is made in this complaint to any act or failure to act by

13   a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts

14   and/or failures to act by each Defendant acting individually, jointly and severally.

15          13.     Plaintiff has filed complaints of discrimination, retaliation, failure to prevent

16   discrimination or retaliation, failure to accommodate, failure to engage in the interactive process, and

17   wrongful termination under Government Code §§12940, et seq., the California Fair Employment and

18   Housing Act ("FEHA") with the California Department of Fair Employment and Housing ("DFEH") and

19   has satisfied Plaintiffs administrative prerequisites with respect to these and all related filings.

20
21                   ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER

22          14.     Plaintiff is informed and believes, and based thereon alleges, that there exists such a unity

23   of interest and ownership between Employers and DOES 1-20 that the individuality and separateness of

24   defendants have ceased to exist.

25          15.     Plaintiff is informed and believes, and based thereon alleges, that despite the formation of

26   purported corporate existence, Employers and DOES 1-20 are, in reality, one and the same, including,

27   but not limited to because:

28



                                                          -4-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21              Page 16 of 81 Page ID
                                                #:16




 1                  a.        Employers are completely dominated and controlled by one another and DOES 1-
 2   20, who personally committed the frauds and violated the laws as set forth in this complaint, and who
 3   have hidden and currently hide behind Defendants to perpetrate frauds, circumvent statutes, or
 4   accomplish some other wrongful or inequitable purpose.

 5                  b.        Employers and DOES 1-20 derive actual and significant monetary benefits by and

 6   through one another's unlawful conduct, and by using one another as the funding source for their own

 7   personal expenditures.

 8                  c.        Employers and DOES 1-20, while really one and the same, were segregated to

 9   appear as though separate and distinct for purposes of perpetrating a fraud, circumventing a statute, or

10   accomplishing some other wrongful or inequitable purpose.

11                  d.        Employers do not comply with all requisite corporate formalities to maintain a

12   legal and separate corporate existence.

13                  e.      The business affairs of Employers and DOES 1-20 are, and at all times relevant

14   were, so mixed and intermingled that the same cannot reasonably be segregated, and the same are in

15   inextricable confusion. Employers are, and at all times relevant hereto were, used by one another and

16   DOES 1-20 as a mere shell and conduit for the conduct of certain of Defendants' affairs, and are, and

17   were, the alter ego of one another and DOES 1-20. The recognition of the separate existence of

18   Defendants would not promote justice, in that it would permit Defendants to insulate themselves from

19   liability to Plaintiff for violations of the Government Code and other statutory violations. The corporate

20   existence of Employers and DOES 1-20 should be disregarded in equity and for the ends of justice

21   because such disregard is necessary to avoid fraud and injustice to Plaintiff herein.

22          16.     Accordingly, Employers constitute the alter ego of one another and DOES 1-20, and the

23   fiction of their separate corporate existence must be disregarded.

24          17.     As a result of the aforementioned facts, Plaintiff is informed and believes, and based

25   thereon alleges that Employers and DOES 1-20 are Plaintiffs joint employers by virtue of a joint

26   enterprise, and that Plaintiff was an employee of Employers and DOES 1-20. Plaintiff performed services

27   for each and every one of Defendants, and to the mutual benefit of all Defendants, and all Defendants

28



                                                         -5-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21               Page 17 of 81 Page ID
                                               #:17




 1   shared control of Plaintiff as an employee, either directly or indirectly, and the manner in which
 2   Defendants' business was and is conducted.
 3             18.   Alternatively, Plaintiff is informed and believes and, based thereupon alleges, that as and
 4   between DOES 1-20, Employers, or any of them, (1) there is an express or implied agreement of
 5   assumption pursuant to which Employers and/or DOES 1-20 agreed to be liable for the debts of the other

 6   Defendants, (2) the transaction between Employers and/or DOES 1-20 and the other Defendants amounts

 7   to a consolidation or merger of the two corporations, (3) Employers and/or DOES 1-20 are a mere

 8   continuation of the other Defendants, or (4) the transfer of assets to Employers and/or DOES 1-20 is for

 9   the fraudulent purpose of escaping liability for Defendants' debts. Accordingly, Employers and/or DOES

10   1-20 are the successors of one or more of the other Defendants and are liable on that basis.

11
12                                        FACTUAL ALLEGATIONS

13             19.   On or about October 1, 2013, Employers hired Plaintiff to work as a security guard and

14   eventually became a private investigator. Plaintiff was a full-time, non-exempt employee, and performed

15   all of Plaintiffs job duties satisfactorily before Plaintiff was wrongfully terminated on or about April 6,

16   2020.

17             20.   Between November 12, 2016 and February 18, 2020, Plaintiffs hourly wage rate was

18   between $11.80 and $17.00. During this time period, Plaintiffs fixed schedule was five days per week,

19   Monday through Friday, for approximately 8 to 10 hours per day.

20             21.   Between February 19, 2020 and April 6, 2020, Plaintiffs hourly wage rate was $19.00.

21   During this time period, Plaintiffs fixed schedule was six to seven days per week, Monday through

22   Saturday, and sometimes Sunday, for approximately 12 to 16 hours per day

23             22.   Throughout Plaintiffs employment, Plaintiff was not permitted to, and not advised of

24   Plaintiffs right to take statutory 10-minute rest breaks for every four hours worked or substantial portion

25   thereof

26             23.   Throughout Plaintiffs employment, Plaintiff did not receive uninterrupted statutory 30-

27   minute meal periods for days on which Plaintiff worked at least 5 hours, which was each day Plaintiff

28



                                                         -6-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21               Page 18 of 81 Page ID
                                               #:18




1    worked.      One or more of Plaintiff's 30-minute meal periods were not provided or interrupted
2    approximately 5 to 6 times per week.
3           24.      In or around August 2019, Plaintiff developed back pain caused by the repetitive nature
4    of his job duties. This injury limited Plaintiffs ability to perform the major life activity of working and,

 5   therefore, constituted a disability. Plaintiff reported his back injury to his supervisor, Jules Hunter, and

6    requested a new chair as an accommodation. However, Respondent denied Plaintiffs accommodation

 7   request and failed and refused to engage in a good faith interactive process to determine what other

 8   accommodations were available to him.

 9          25.      Plaintiff then obtained medical attention and was issued work restrictions, which Plaintiff

10   provided to Defendants. Again, Defendants failed and refused to engage in any good faith interactive

11   process and to discuss and/or arrange for accommodations.

12          26.      In or about February 2020, Plaintiff applied for a private investigator position.

13   Respondents offered Plaintiff the position. However, a few days after Plaintiff accepted the job,

14   Defendants' Human Resources department asked Plaintiff whether he was able to perform the private

15   investigator job duties due to his disability and work restrictions. Plaintiff confirmed he was able to

16   perform the required duties with accommodations. In response, on or about March 23, 2020, Defendants

17   significantly reduced Plaintiffs work schedule from approximately 70 hours per week to only 20 hours

18   per week. The following week, Plaintiffs schedule was cut further to only 10 hours per week.

19          27.      Subsequently, on or about April 6, 2020, Defendants wrongfully terminated Plaintiff.

20          28.      Defendants discriminated and retaliated against Plaintiff by terminating Plaintiffs

21   employment.

22          29.      At all relevant times, Defendants failed to properly engage in a good faith interactive

23   process in an effort to properly accommodate Plaintiffs disability and/or medical condition such that

24   Plaintiff could continue working for Defendants.

25          30.      At all relevant times, Defendants failed to reasonably accommodate Plaintiff even though

26   Plaintiff was able to perform the essential job duties of Plaintiffs position or another position with or

27   without accommodations.

28



                                                         -7-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21                Page 19 of 81 Page ID
                                               #:19




 1            31.   Plaintiffs termination was substantially motivated by Plaintiff's disability or perceived
 2   disability, medical condition or perceived medical condition, request for accommodation, and/or
 3   engagement in protected activities, without any discussion of disability accommodations or any good
 4   faith attempt to engage in the interactive process with Plaintiff. Defendants' discriminatory animus is
 5   evidenced by the previously mentioned facts.

 6            32.   Defendants' conduct described herein was undertaken, authorized, and/or ratified

 7   Defendants' officers, directors and/or managing agents, including, but not limited to Jules Hunter and

 8   those identified herein as DOES 1 through 20, who were authorized and empowered to make decisions

 9   that reflect and/or create policy for Defendants. The aforementioned conduct of said managing agents

10   and individuals was therefore undertaken on behalf of Defendants who further had advanced knowledge

11   of the actions and conduct of said individuals whose actions and conduct were ratified, authorized, and

12   approved by managing agents whose precise identities are unknown to Plaintiff at this time and are

13   therefore identified and designated herein as DOES 1 through 20, inclusive.

14            33.   As a result of Defendants' actions, Plaintiff has suffered and will continue to suffer general

15   and special damages, including severe and profound pain and emotional distress, anxiety, depression,

16   headaches, tension, and other physical ailments, as well as medical expenses, expenses for psychological

17   counseling and treatment, and past and future lost wages and benefits.

18            34.   As a result of the above, Plaintiff is entitled to past and future lost wages, bonuses,

19   commissions, benefits and loss or diminution of earning capacity.

20            35.   Plaintiff claims general damages for emotional and mental distress and aggravation in a

21   sum in excess of the jurisdictional minimum of this Court.

22            36.   Because the acts taken toward Plaintiff were carried out by officers, directors and/or

23   managing agents acting in a deliberate, cold, callous, cruel and intentional manner, in conscious disregard

24   of Plaintiffs rights and in order to injure and damage Plaintiff, Plaintiff requests that punitive damages

25   be levied against Defendants and each of them, in sums in excess of the jurisdictional minimum of this

26   Court.

27
28



                                                         -8-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21              Page 20 of 81 Page ID
                                                #:20




1                                           FIRST CAUSE OF ACTION
2             FOR DISCRIMINATION IN VIOLATION OF GOV'T CODE                           12940 ET SEQ.

3                                        AGAINST ALL DEFENDANTS

4            37.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 32, inclusive, as

 5   though set forth in full herein.

 6           38.    At all times hereto, the FEHA was in full force and effect and was binding upon

 7   Defendants and each of them.

 8           39.    As such term is used under FEHA, "on the bases enumerated in this part" means or refers

 9   to discrimination on the bases of one or more of the protected characteristics under FEHA.

10           40.     FEHA requires Defendants to refrain from discriminating against an employee on the

11   basis of disability and/or medical condition, real or perceived, and to prevent discrimination on the basis

12   of disability and/or medical condition, real or perceived, use of medical leave, and engagement in

13   protected activities from occurring.

14           41.     Plaintiff was a member of multiple protected classes as a result of Plaintiffs disability,

15   medical condition and/or the perception that Plaintiff was suffering from a disability and/or medical

16   condition.

17           42.     At all times relevant hereto, Plaintiff was performing competently in the position Plaintiff

18   held with Defendants.

19           43.     Plaintiff suffered the adverse employment actions of unlawful discrimination, failure to

20   accommodate, failure to investigate, remedy, and/or prevent discrimination, failure to reinstate and/or

21   return to work, and termination, and was harmed thereby.

22           44.     Plaintiff is informed and believes that Plaintiffs disability and/or medical condition, real

23   and perceived, and/or some combination of these protected characteristics under Government Code

24   §12926(j) were motivating reasons and/or factors in the decisions to subject Plaintiff to the

25   aforementioned adverse employment actions.

26           45.     Said conduct violates the FEHA, and such violations were a proximate cause in Plaintiff s

27   damage as stated below.

28



                                                         -9-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21               Page 21 of 81 Page ID
                                               #:21




 1          46.      The damage allegations of Paragraphs 33 through 36, inclusive, are herein incorporated
 2   by reference.
 3          47.      The foregoing conduct of Defendants individually, or by and through their officers,
 4   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 5   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

 6   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's rights

 7   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

 8   punitive damages in an amount appropriate to punish or make an example of Defendants.

 9          48.      Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

10   attorneys' fees and costs, including expert fees pursuant to the FEHA.

11
12                                       SECOND CAUSE OF ACTION

13                FOR RETALIATION IN VIOLATION OF GOV'T CODE 4412940 ET SEQ.

14                                       AGAINST ALL DEFENDANTS

15          49.      Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 32, inclusive, as

16   though set forth in full herein.

17          50.      At all times hereto, the FEHA was in full force and effect and was binding upon

18   Defendants and each of them.

19          51.      These laws set forth in the preceding paragraph require Defendants to refrain from

20   retaliating against an employee for engaging in protected activity.

21          52.      Plaintiff engaged in the protected activities of requesting accommodation and

22   complaining about and protesting Defendants' discriminatory conduct towards Plaintiff based upon

23   Plaintiff's disability, medical condition, real or perceived, and use of medical leave.

24          53.      Plaintiff suffered the adverse employment actions of unlawful discrimination, failure to

25   accommodate, failure to investigate, remedy, and/or prevent discrimination, failure to reinstate and/or

26   return to work, and termination, and was harmed thereby.

27          54.      Plaintiff is informed and believes that Plaintiff's conduct of requesting accommodation,

28   complaining about and protesting about Defendants' discriminatory conduct, and/or some combination



                                                        -10-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21               Page 22 of 81 Page ID
                                                #:22




 1   of these factors, were motivating reasons and/or factors in the decisions to subject Plaintiff to the
 2   aforementioned adverse employment actions.
 3           55.     Defendants violated the FEHA by retaliating against Plaintiff and terminating Plaintiff for
 4   attempting to exercise Plaintiff's protected rights, as set forth hereinabove.

 5           56.     Plaintiff is informed and believes, and based thereon alleges, that the above acts of

 6   retaliation committed by Defendants were done with the knowledge, consent, and/or ratification of, or at

 7   the direction of, each other Defendant and the other Managers.

 8           57.     The above said acts of Defendants constitute violations of the FEHA and were a proximate

 9   cause in Plaintiff's damage as stated below.

10           58.     The damage allegations of Paragraphs 33 through 36, inclusive, are herein incorporated

11   by reference.

12           59.     The foregoing conduct of Defendants individually, or by and through their officers,

13   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

14   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

15   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's rights

16   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

17   punitive damages in an amount appropriate to punish or make an example of Defendants.

18           60.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

19   attorneys' fees and costs, including expert fees pursuant to the FEHA.

20
21                                        THIRD CAUSE OF ACTION

22                   FAILURE TO PREVENT DISCRIMINATION AND RETALIATION

23                                IN VIOLATION OF GOV'T CODE 12940(k)

24                                       AGAINST ALL DEFENDANTS

25          61.      Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 32, inclusive, as

26   though set forth in full herein.

27          62.      At all times hereto, the FEHA, including in particular Government Code §12940(k), was

28   in full force and effect and was binding upon Defendants. This subsection imposes a duty on Defendants



                                                         -11-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21             Page 23 of 81 Page ID
                                               #:23




 1   to take all reasonable steps necessary to prevent discrimination, and retaliation from occurring. As
2    alleged above, Defendants violated this subsection and breached their duty by failing to take all
 3   reasonable steps necessary to prevent discrimination and retaliation from occurring.
 4          63.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

 5   cause in Plaintiffs damage as stated below.

 6          64.      The damage allegations of Paragraphs 33 through 36, inclusive, are herein incorporated

 7   by reference.

 8          65.      The foregoing conduct of Defendants individually, or by and through their officers,

 9   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

10   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

11   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiffs rights

12   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

13   punitive damages in an amount appropriate to punish or make an example of Defendants.

14           66.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

15   attorneys' fees and costs, including expert fees pursuant to the FEHA.

16
17                                      FOURTH CAUSE OF ACTION

18                   FOR FAILURE TO PROVIDE REASONABLE ACCOMMODATIONS

19                           IN VIOLATION OF GOV'T CODEM2940 ET SEQ.

20                                      AGAINST ALL DEFENDANTS

21           67.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 32, inclusive, as

22   though set forth in full herein.

23           68.     At all times hereto, the FEHA, including in particular Government Code §12940(m), was

24   in full force and effect and was binding upon Defendants. This subsection imposes an ongoing duty on

25   Defendants to make reasonable accommodation for the known physical disability and/or medical

26   condition of an employee.

27          69.      At all relevant times, Plaintiff was a member of a protected class within the meaning of,

28   in particular, Government Code §§12940(a) & 12986(1) et seq. because Plaintiff had a disability, a



                                                       -12-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21                Page 24 of 81 Page ID
                                               #:24




 1   physical condition that affected Plaintiff's major life activities, and medical condition of which
 2   Defendants had both actual and constructive knowledge.
 3          70.      At all times herein, Plaintiff was willing and able to perform the duties and functions of

 4   the position in which Plaintiff was employed or could have performed the duties and functions of that
 5   position with reasonable accommodations. At no time would the performance of the functions of the
 6   employment position, with a reasonable accommodation for Plaintiffs disability or medical condition,

 7   actual or as it was perceived by Defendants, have been a danger to Plaintiffs or any other person's health

 8   or safety. Accommodation of Plaintiffs disability, real or perceived, or medical condition, real or

 9   perceived by Defendants, would not have imposed an undue hardship on Defendants. Defendants failed

10   and refused to accommodate Plaintiff's disability, failed to engage in the interactive process with Plaintiff

11   and continue to violate this obligation, up to and including the date of Plaintiff's termination or, if

12   Defendant contends Plaintiff was never terminated, through the present and ongoing.

13          71.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

14   cause in Plaintiff's damage as stated below.

15          72.      The damage allegations of Paragraphs 33 through 36, inclusive, are herein incorporated

16   by reference.

17          73.      The foregoing conduct of Defendants individually, and/or by and through their officers,

18   directors, and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

19   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

20   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's rights

21   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

22   punitive damages in an amount appropriate to punish or make an example of Defendants.

23          74.      Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

24   attorneys' fees and costs, including expert fees pursuant to the FEHA.

25
26
27
28



                                                        -13-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21               Page 25 of 81 Page ID
                                                #:25




 1                                         FIFTH CAUSE OF ACTION
 2            FOR FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE PROCESS
 3                           IN VIOLATION OF GOV'T CODE 4412940 ET SEQ.
 4                                       AGAINST ALL DEFENDANTS
 5          75.      Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 32, inclusive, as

 6   though set forth in full herein.

 7           76.     At all times hereto, the FEHA, including in particular Government Code §12940(n), was
 8   in full force and effect and was binding upon Defendants. This subsection imposes an ongoing duty on

 9   Defendants to engage in a timely, good faith, interactive process with the employee to determine effective

10   reasonable accommodations, if any, in response to a request for reasonable accommodation by an

11   employee with a known physical disability or known medical condition and/or becoming aware of the

12   employee's need for accommodation.

13          77.      At all relevant times, Plaintiff was a member of a protected class within the meaning of,

14   in particular, Government Code §§12940(a) & 12986(1) et seq. because Plaintiff had a physical disability

15   that affected Plaintiff's major life activities, and medical condition of which Defendants had both actual

16   and constructive knowledge.

17          78.      Plaintiff reported the disability to Defendants and requested accommodation, triggering

18   Defendants' obligation to engage in the interactive process with Plaintiff, but at all times herein,

19   Defendants failed and refused to do so. Thereafter, despite Defendants continuing obligation to engage

20   in the interactive process with Plaintiff, despite Plaintiff's submission of a doctors' notes identifying

21   Plaintiff's condition and Plaintiff's desire to continue working, Defendants failed and refused to have

22   any dialogue with Plaintiff whatsoever, on any of these occasions, and Defendants violated, and

23   continued to violate this obligation up to and including the date of Plaintiff's termination or, if Defendant

24   contends Plaintiff was never terminated, through the present and ongoing.

25          79.      The above said acts of Defendants constitute violations of the FEHA and were a proximate

26   cause in Plaintiff's damage as stated below.

27          80.      The damage allegations of Paragraphs 33 through 36, inclusive, are herein incorporated

28   by reference.



                                                         -14-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21                Page 26 of 81 Page ID
                                                #:26




 1          81.     The foregoing conduct of Defendants individually, and/or by and through their officers,
 2   directors, and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was
 3   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of
 4   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's rights

 5   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

 6   punitive damages in an amount appropriate to punish or make an example of Defendants.

 7          82.     Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award of

 8   attorneys' fees and costs, including expert fees pursuant to the FEHA.

 9
10                                         SIXTH CAUSE OF ACTION

11                                      FOR DECLARATORY JUDGMENT

12                                       AGAINST ALL DEFENDANTS

13          83.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 82, inclusive, as

14   though set forth in full herein.

15          84.     Government Code §12920 sets forth the public policy of the State of California as follows:

16                  It is hereby declared as the public policy of this state that it is necessary to
                    protect and safeguard the right and opportunity of all persons to seek,
17                  obtain, and hold employment without discrimination or abridgment on
                    account of race, religious creed, color, national origin, ancestry, physical
18                  disability, mental disability, medical condition, genetic information,
                    marital status, sex, gender, gender identity, gender expression, age, or
19                  sexual orientation.
20                  It is recognized that the practice of denying employment opportunity and
                    discriminating in the terms of employment for these reasons foments
21                  domestic strife and unrest, deprives the state of the fullest utilization of its
                    capacities for development and advancement, and substantially and
22                  adversely affects the interests of employees, employers, and the public in
                    general.
23
                    Further, the practice of discrimination because of race, color, religion, sex,
24                  gender, gender identity, gender expression, sexual orientation, marital
                    status, national origin, ancestry, familial status, source of income,
25                  disability, or genetic information in housing accommodations is declared
                    to be against public policy.
26
                    It is the purpose of this part to provide effective remedies that will
27                  eliminate these discriminatory practices.
28                  This part shall be deemed an exercise of the police power of the state for
                    the protection of the welfare, health, and peace of the people of this state.


                                                         -15-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21               Page 27 of 81 Page ID
                                               #:27




1
2           85.     Government Code §12920.5 embodies the intent of the California legislature and states:
3                   In order to eliminate discrimination, it is necessary to provide effective
                    remedies that will both prevent and deter unlawful employment practices
4                   and redress the adverse effects of those practices on aggrieved persons. To
                    that end, this part shall be deemed an exercise of the Legislature's
 5                  authority pursuant to Section 1 of Article XIV of the California
                    Constitution.
6

 7          86.     Moreover, Government Code §12921, subdivision (a) says in pertinent part:

 8                  The opportunity to seek, obtain, and hold employment without
                    discrimination because of race, religious creed, color, national origin,
 9                  ancestry, physical disability, mental disability, medical condition, genetic
                    information, marital status, sex, gender, gender identity, gender
10                  expression, age, or sexual orientation is hereby recognized as and declared
                    to be a civil right.
11
12          87.     An actual controversy has arisen and now exists between Plaintiff and Defendants

13   concerning their respective rights and duties as it is believed that Defendants may allege that they did not

14   discriminate and retaliate against Plaintiff; that Plaintiff was not terminated as a result of Plaintiffs

15   disability and/or perceived disability, medical condition or perceived medical condition, engagement in

16   protected activities, and/or some combination of these protected characteristics. Plaintiff contends that

17   Defendants did discriminate and retaliate against Plaintiff on the basis of Plaintiff's disability and/or

18   perceived disability, medical condition or perceived medical condition, engagement in protected

19   activities, and/or some combination of these protected characteristics; and that Plaintiff was retaliated

20   against and, ultimately wrongfully terminated as a result of Plaintiff's medical condition, disability

21   and/or perceived disability, medical condition or perceived medical condition, engagement in protected

22   activities, and/or some combination of these protected characteristics. Plaintiff is informed and believes,

23   and on that basis alleges, that Defendants shall dispute Plaintiffs contentions.

24          88.     Pursuant to Code of Civil Procedure §1060, Plaintiff seeks a judicial determination of

25   Plaintiff's rights and duties, and a declaration that Plaintiffs perceived disability, medical condition,

26   perceived medical condition, disability, engagement in protected activities, and/or some combination of

27   these protected characteristics was a substantial motivating factor in the decision to subject Plaintiff to

28   the aforementioned adverse employment actions.



                                                        -16-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21              Page 28 of 81 Page ID
                                                #:28




 1           89.     A judicial declaration is necessary and appropriate at this time under the circumstances in
 2   order that Plaintiff, for Plaintiff and on behalf of employees in the State of California and in conformity
 3   with the public policy of the State, obtain a judicial declaration of the wrongdoing of Defendants and to
 4   condemn such discriminatory employment policies or practices prospectively. Harris v. City of Santa
 5   Monica (2013) 56 Ca1.4th 203.

 6           90.     A judicial declaration is necessary and appropriate at this time such that Defendants may

 7   also be aware of their obligations under the law to not engage in discriminatory practices and to not
 8   violate the law in the future.

 9           91.     Government Code §12965(b) provides that an aggrieved party, such as the Plaintiff herein,

10   may be awarded reasonable attorneys' fees and costs: "In civil actions brought under this section, the

11   court, in its discretion, may award to the prevailing party, including the department, reasonable attorneys'

12   fees and costs, including expert witness fees." Such fees and costs expended by an aggrieved party may

13   be awarded for the purpose of redressing, preventing, or deterring discrimination.

14
15                                       SEVENTH CAUSE OF ACTION

16                                      FOR WRONGFUL TERMINATION

17               IN VIOLATION THE PUBLIC POLICY OF THE STATE OF CALIFORNIA

18                                       AGAINST ALL DEFENDANTS

19           92.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 32, inclusive, as

20   though set forth in full herein.

21           93.     At all relevant times mentioned in this complaint, the FEHA was in full force and effect

22   and was binding on Defendants. This law requires Defendants to refrain, among other things, from

23   discriminating against any employee on the basis of disability, medical condition, real or perceived, and

24   use of medical leave, and from retaliating against any employee who engages in protected activity.

25           94.     At all times mentioned in this complaint, it was a fundamental policy of the State of

26   California that Defendants cannot discriminate and/or retaliate against any employee on the basis of

27   disability, medical condition, real or perceived, use of medical leave and/or engagement in protected

28   activity.



                                                        -17-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21               Page 29 of 81 Page ID
                                                #:29




1            95.     Plaintiff believes and thereon alleges that Plaintiff's disability and/or medical condition,
2    real or perceived, use of medical leave, engagement in protected activity with respect to these protected
3    classes, and/or some combination thereof; were factors in Defendants' conduct as alleged hereinabove.
4            96.     Such discrimination and retaliation, resulting in the wrongful termination of Plaintiffs

 5   employment on the basis of disability, medical condition, real or perceived, or use of medical leave,

6    Plaintiff's complaining of discrimination due to these protected classes, Plaintiffs engagement in

 7   protected activity, and/or some combination of these factors, were a proximate cause in Plaintiff's

 8   damages as stated below.

 9           97.     The above said acts of Defendants constitute violations of the Government Code and the

10   public policy of the State of California embodied therein as set forth above. Defendants violated these

11   laws by discriminating and retaliating against Plaintiff and terminating Plaintiff's employment in

12   retaliation for exercise of protected rights.

13           98.     At all times mentioned in this complaint, it was a fundamental policy of the State of

14   California that Defendants cannot discriminate and/or retaliate against any employee in violation of

15   FEHA.

16           99.     Plaintiff is informed and believes, and based thereupon alleges, that Plaintiff's status as a

17   protected member of the class under FEHA was a proximate cause in Plaintiff's damages as stated below.

18           100.    The damage allegations of Paragraphs 33 through 36, inclusive, are herein incorporated

19   by reference.

20           101.    The foregoing conduct of Defendants individually, or by and through their officers,

21   directors and/or managing agents, was intended by the Defendants to cause injury to the Plaintiff or was

22   despicable conduct carried on by the Defendants with a willful and conscious disregard of the rights of

23   Plaintiff or subjected Plaintiff to cruel and unjust hardship in conscious disregard of Plaintiff's rights

24   such as to constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling Plaintiff to

25   punitive damages in an amount appropriate to punish or make an example of Defendants.

26
27
28



                                                         -18-
                                              COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                 Document 1 Filed 02/19/21               Page 30 of 81 Page ID
                                                 #:30




1                                         EIGHTH CAUSE OF ACTION
2                                       FOR FAILURE TO PAY WAGES DUE
3                                  LABOR CODE §201, 1182.12, 1194, 1194.2

4                                         AGAINST ALL DEFENDANTS

 5            102.   Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

 6   though set forth in full herein.

 7            103.   At all relevant times, Defendants failed and refused to pay Plaintiff wages earned and

 8   required by 8 Code of Regulations §11040, as set forth hereinabove. As alleged herein, Defendants

 9   routinely failed to pay Plaintiff for missed meal and rest breaks.

10            104.   As alleged herein, Plaintiff was not exempt from the requirements of Labor Code §510, 8

11   Code of Regulations §11040, and Industrial Welfare Commission Order No. 4-2001.

12            105.   Plaintiff has been deprived of Plaintiffs rightfully earned compensation as a direct and

13   proximate result of Defendants' failure and refusal to pay said compensation. Plaintiff is entitled to

14   recover such amounts, plus interest thereon, attorneys' fees and costs.

15            106.   Labor Code §558(a) provides that any person acting on behalf of an employer who

16   violates, or causes to be violated, any statute or provision regulating hours and days of work in any order

17   of the Industrial Welfare Commission pay a civil penalty in the amount of $50.00 for each underpaid

18   employee for each pay period in which the employee was underpaid in addition to an amount sufficient

19   to recover underpaid wages. Also, Labor Code §558(a) for each subsequent violation, the person acting

20   on behalf of an employer is liable in the amount of $100.00 for each underpaid employee for each pay

21   period for which the employee was underpaid in addition to an amount sufficient to recover the underpaid

22   wages.

23            107.   In addition to the unpaid wages, Plaintiff is entitled to civil penalties in this amount stated

24   above based upon Defendants' underpayment of minimum and overtime wages. Within the one year

25   immediately preceding the filing of this Complaint, Defendants, and each of them, violated Labor Code

26   §558 on 21 pay periods, the first of which Defendants are penalized $50.00, and the remainder of which

27   Defendants are penalized $100.00 each, for a total due in Labor Code §558 penalties of $2,050.00.

28



                                                          -19-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21               Page 31 of 81 Page ID
                                               #:31




 1                                        NINTH CAUSE OF ACTION
2                         FOR FAILURE TO PROVIDE MEAL AND REST BREAKS
 3                                         LABOR CODE           226.7, 512

4                                        AGAINST ALL DEFENDANTS

 5           108.    Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

 6   though set forth in full herein.

 7           109.    Labor Code §512 requires employers to provide every employee with an uninterrupted

 8   meal period of not less than 30 consecutive minutes, for every period of work exceeding five hours.

 9           110.    Labor Code §226.7 requires an employer to provide every employee with an uninterrupted

10   rest period of not less than 10 minutes, for every period worked of four hours, or substantial portion

11   thereof.

12           111.    In the four years last past, Plaintiff regularly worked in excess of five hours per day, and

13   was thereby entitled to take uninterrupted 30-minute meal periods and two 10-minute rest periods on each

14   day of work. In the four years last past, Plaintiff regularly worked in excess of 10 hours per day and was

15   thereby entitled to take uninterrupted two 30-minute meal periods and two 10-minute rest periods on each

16   day of work.

17           112.    Defendants failed and refused to provide Plaintiff with meal and rest periods, and failed

18   to compensate Plaintiff for missed meal and rest periods, as required by Labor Code §§226.7 and the

19   applicable sections of 8 Code of Regulations §11040 and Industrial Welfare Commission Order No. 4-

20   2001, as follows:

21                   a.      From approximately November 12, 2016 to December 31, 2017, Plaintiff's

22   statutory 30-minute meal periods were interrupted and cut short approximately 5 times per week for 59

23   weeks, or on approximately 295 days. During this same time period, Plaintiff was deprived of one or

24   more of Plaintiffs statutory 10-minute rest periods on approximately 295 days (5 days per week for 59

25   weeks).

26                   b.      From approximately January 1, 2018 to February 17, 2020, Plaintiff was deprived

27   of one or more of Plaintiffs statutory 10-minute rest periods on approximately 550 days (5 days per week

28   for 110 weeks).



                                                         -20-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21              Page 32 of 81 Page ID
                                               #:32




 1                   c.     From approximately February 18, 2020 to April 6, 2020, Plaintiff's statutory 30-
 2   minute meal periods were interrupted and cut short approximately 6 times per week for 7 weeks, or on
 3   approximately 42 days. During this same time period, Plaintiff was deprived of one or more of Plaintiffs
 4   statutory 10-minute rest periods on approximately 42 days (6 days per week for 7 weeks).
 5           113.    As alleged herein, Plaintiff is not exempt from the meal and rest break requirements of 8

 6   Code of Regulations §11040 and Industrial Welfare Commission Order No. 4-2001. Consequently,
 7   Plaintiff is owed one hour of pay at Plaintiff's then regular hourly rate, or the requisite minimum wage,

 8   whichever is greater, for each day that Plaintiff was denied such meal periods, and is owed one hour of

 9   pay at Plaintiff's regular hourly rate, or the requisite minimum wage, whichever is greater, for each day

10   that Plaintiff was denied such rest periods, calculated as follows:

11                   a.     From approximately November 12, 2016 to December 31, 2017, Defendants failed

12   to provide Plaintiff with an uninterrupted statutory meal period on approximately 295 separate days.

13   Consequently, Plaintiff is owed one hour of pay at $15.00 for each day, or $4,425.00, plus interest

14   thereon, for unpaid interrupted meal periods. During this same time period, Defendants failed to provide

15   Plaintiff with the statutory rest period on approximately 295 separate days. Consequently, Plaintiff is

16   owed one hour of pay at $15.00 for each day, or $4,425.00, plus interest thereon, for unpaid rest periods.

17   Thus, Plaintiff is owed a total of $8,850.00, plus interest thereon, for unpaid meal and rest periods for

18   this time period.

19                   b.     From approximately January 1, 2018 to February 17, 2020, Defendants failed to

20   provide Plaintiff with the statutory rest period on approximately 550 separate days. Consequently,

21   Plaintiff is owed one hour of pay at $17.00 for each day, or $9,350.00, plus interest thereon, for unpaid

22   rest periods.

23                   c.     From approximately February 18, 2020 to April 6, 2020, Defendants failed to

24   provide Plaintiff with an uninterrupted statutory meal period on approximately 42 separate days.

25   Consequently, Plaintiff is owed one hour of pay at $19.00 for each day, or $798.00, plus interest thereon,

26   for unpaid interrupted meal periods. During this same time period, Defendants failed to provide Plaintiff

27   with the statutory rest period on approximately 42 separate days. Consequently, Plaintiff is owed one

28   hour of pay at $19.00 for each day, or $798.00, plus interest thereon, for unpaid rest periods. Thus,



                                                        -21-
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                 Document 1 Filed 02/19/21               Page 33 of 81 Page ID
                                                 #:33




1    Plaintiff is owed a total of $1,596.00, plus interest thereon, for unpaid meal and rest periods for this time
2    period.
3              114.   Thus, the total missed meal and rest period compensation owing Plaintiff for this time

4    period is $19,796.00.
 5             115.   Plaintiff has been deprived of Plaintiffs rightfully earned compensation for meal and rest

6    breaks as a direct and proximate result of Defendants' failure and refusal to pay said compensation.

 7             116.   Thus, for the entirety of the time periods set forth above, Plaintiff is entitled to recover

 8   such amounts in the combined amount of $19,796.00, pursuant to Labor Code §226.7(b), plus interest

 9   thereon and costs of suit.

10
11                                         TENTH CAUSE OF ACTION

12             FOR FAILURE TO PROVIDE ITEMIZED WAGE AND HOUR STATEMENTS

13                                        LABOR CODE §§226 ET SEQ.

14                                        AGAINST ALL DEFENDANTS

15             117.   Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

16   though set forth in full herein.

17             118.   Pursuant to Labor Code §§226 and 1174, employers have a duty to provide their non-

18   exempt employees with itemized statements showing total hours worked, hourly wages, gross wages,

19   total deductions and net wages earned. An employer who violates these code sections is liable to its

20   employees for the greater of actual damages suffered by the employee, or $50.00 in civil penalties for the

21   initial pay period in which a violation occurred, and $100.00 per employee for each subsequent pay

22   period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code §226(e)(2), an employee is

23   deemed to suffer injury for purposes of this subdivision if the employer fails to provide a wage statement

24   at all.

25             119.   In addition thereto, pursuant to Labor Code §226.3, an employer who willfully violates

26   Labor Code §226 is subject to a $250.00 civil penalty for the initial pay period in which a violation

27   occurred, and $1,000.00 per employee for each subsequent pay period, with no maximum.

28



                                                          -22-
                                              COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21               Page 34 of 81 Page ID
                                                #:34




             120.    At all relevant times, Defendants failed to provide the Plaintiff with timely and accurate
 2   wage and hour statements showing gross wages earned, total hours worked, all deductions made, net
 3   wages earned, the name and address of the legal entity employing Plaintiff, and all applicable hours and
 4   rates in effect during each pay period and the corresponding number of hours worked at each hourly rate
 5   by Plaintiff. For the majority of the time and as to nearly all of Plaintiffs wages, Defendants knowingly
 6   and intentionally, not inadvertently, failed to provide Plaintiff with paystubs at all, and instead paying

 7   Plaintiff entirely in cash without any calculations of how Plaintiffs gross wages were calculated. Not

 8   one of the paystubs that Plaintiff received complied with Labor Code §226, and contained almost none

 9   of the required information, including hours actually worked.

10           121.   As alleged herein, Plaintiff is not exempt from the requirements of Labor Code §226.

11           122.   This failure has injured Plaintiff, by misrepresenting and depriving Plaintiff of hour, wage,

12   and earnings information to which Plaintiff is entitled, causing Plaintiff difficulty and expense in

13   attempting to reconstruct time and pay records, causing Plaintiff not to be paid wages Plaintiff is entitled

14   to, causing Plaintiff to be unable to rely on earnings statements in dealings with third parties, eviscerating

15   Plaintiffs right under Labor Code §226(b) to review itemized wage statement information by inspecting

16   the employer's underlying records, and deceiving Plaintiff regarding Plaintiffs entitlement to overtime,

17   meal period, and rest period wages. For the time periods that Plaintiff was not provided with paystubs at

18   all, Plaintiffs aforementioned injuries are presumed as a matter of law.

19          123.    Plaintiff was paid on a weekly basis, and therefore Defendants violated Labor Code §226

20   approximately 21 times during the one year preceding the filing of this complaint. Consequently,

21   Defendants are liable to Plaintiff for Plaintiffs actual damages, or penalties in the statutory maximum

22   amount of $4,000.00, whichever is greater.

23          124.    In addition, thereto, for Defendants' 21 violations, Defendants are penalized $250.00 for

24   the first violation, and the remainder of which Defendants are penalized $1,000.00 each, for a total due

25   in Labor Code §226.3 penalties of $20,250.00.

26          125.    Based on Defendants' conduct as alleged herein, Defendants are liable for damages and

27   statutory penalties pursuant to Labor Code §226, civil penalties pursuant to Labor Code §226.3, and other

28   applicable provisions, as well as attorneys' fees and costs.



                                                         -23-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK                  Document 1 Filed 02/19/21               Page 35 of 81 Page ID
                                                  #:35




 1
2                                         ELEVENTH CAUSE OF ACTION
 3                                       FOR WAITING TIME PENALTIES
 4                                             LABOR CODE 44201-203

 5                                         AGAINST ALL DEFENDANTS

 6          126.       Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

 7   though set forth in full herein.

 8          127.       At all relevant times, Defendants failed to pay all of the Plaintiff's accrued wages and

 9   other compensation due immediately upon termination or within 72 hours of resignation, as required.

10   These wages refer to, at a minimum, meal and rest period compensation that Defendants should have

11   paid, but did not pay to Plaintiff during the term of Plaintiff's employment and which were, at the latest,

12   due within the time restraints of Labor Code §§201-203.

13          128.       As alleged herein, Plaintiff is not exempt from the requirements of Labor Code §§201-

14   203.

15          129.       As a direct and proximate result of Defendants' willful failure to pay these wages, Plaintiff

16   is entitled to payment of Plaintiff's overtime, meal and rest periods as previously pleaded herein, and

17   more than $7,980.00 in wait time penalties, calculated based on 30 days of Plaintiff's daily wage rate of

18   $266.00, inclusive of overtime.

19          130.       Based on Defendants' conduct as alleged herein, Defendants are liable for $7,980.00 in

20   statutory penalties pursuant to Labor Code §203 and other applicable provisions, as well as attorneys'

21   fees and costs.

22
23                                        TWELFTH CAUSE OF ACTION

24                                         FOR UNFAIR COMPETITION

25                            BUSINESS & PROFESSIONS CODE §§17200, ET SEQ.

26                                         AGAINST ALL DEFENDANTS

27          131.       Plaintiff re-alleges and incorporates by reference each of the foregoing paragraphs as

28   though set forth in full herein.



                                                           -24-
                                               COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21                Page 36 of 81 Page ID
                                               #:36




1           132.    Defendants' violations of 8 Code of Regulations §11040, Industrial Welfare Commission
2    Order No. 4-2001, Labor Code §§201-203, 226, 226.7, 512, 1194, 1194.2, and other applicable
 3   provisions, as alleged herein, including Defendants' failure and refusal to provide meal and rest breaks,
 4   Defendants' failure to provide timely and accurate wage and hour statements, Defendants' failure to pay
 5   compensation due in a timely manner upon termination or resignation, and Defendants' failure to

 6   maintain complete and accurate payroll records for the Plaintiff, constitute unfair business practices in

 7   violation of Business & Professions Code §§17200, et seq.

 8          133.    As a result of Defendants' unfair business practices, Defendants have reaped unfair

 9   benefits and illegal profits at the expense of Plaintiff and members of the public. Defendants should be

10   made to disgorge their ill-gotten gains and restore such monies to Plaintiff.

11          134.    Defendants' unfair business practices entitle Plaintiff to seek preliminary and permanent

12   injunctive relief, including but not limited to orders that the Defendants account for, disgorge, and restore

13   to the Plaintiff the overtime compensation and other monies and benefits unlawfully withheld from

14   Plaintiff

15                                           PRAYER FOR RELIEF

16          WHEREFORE, Plaintiff seeks judgment against Defendants and each of them, in an amount

17   according to proof as follows:

18          1.      For a money judgment representing compensatory damages including lost wages,

19   earnings, commissions, retirement benefits, and other employee benefits, and all other sums of money,

20   together with interest on these amounts; for other special damages; and for general damages for mental

21   pain and anguish and emotional distress and loss of earning capacity;

22          2.      For statutory penalties or damages pursuant to Labor Code §558 in the amount of no less

23   than $2,050.00;

24          3.      For payment of meal and rest period compensation pursuant to Labor Code §226.7, 512,

25   in the amount of no less than $19,796.00;

26          4.      For damages pursuant to Labor Code §226 in the amount of no less than $4,000.00;

27          5.      For statutory penalties or damages pursuant to Labor Code §226.3 in the amount of no

28   less than $20,250.00;



                                                         -25-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21                Page 37 of 81 Page ID
                                               #:37




 1          6.      For waiting time penalties pursuant to Labor Code §§201-203 in the amount of no less
 2   than $7,980.00;
 3          7.      For prejudgment interest on each of the foregoing at the legal rate from the date the
 4   obligation became due through the date of judgment in this matter.
 5          WHEREFORE, Plaintiff further seeks judgment against Defendants, and each of them, in an

 6   amount according to proof, as follows:

 7          8.      For a declaratory judgment reaffirming Plaintiffs equal standing under the law and

 8   condemning Defendants' discriminatory practices;

 9          9.      For injunctive relief barring Defendants' discriminatory employment policies and

10   practices in the future, and restoring Plaintiff to Plaintiff's former position with Defendants;

11          10.     For punitive damages, pursuant to Civil Code §§3294 in amounts sufficient to punish

12   Defendants for the wrongful conduct alleged herein and to deter such conduct in the future;

13          11.     For injunctive relief compelling Defendants to report to federal and state authorities wages

14   earned by Plaintiff, and other employees, and pay all state and federal taxes owing, employer matching

15   funds, unemployment premiums, social security, Medicare, and workers' compensation premiums, all

16   this in an amount according to the proof;

17          12.     For restitutionary disgorgement of profits garnered as a result of Defendants' unlawful

18   conduct, and failure to pay wages and other compensation in accordance with the law;

19          13.     For costs of suit, attorneys' fees, and expert witness fees pursuant to the FEHA, Labor

20   Code and/or any other basis;

21          14.     For post-judgment interest; and

22          15.     For any other relief that is just and proper.

23   DATED: December 14, 2020                             LAW OFFICES OF RAMIN R. YOUNESSI
                                                          A PROFESSIONAL LAW CORPORATION
24
25                                                                        i         C
                                                          By:
26                                                              Ramin R. Younessi, Esq.
                                                                Attorney for Plaintiff
27                                                              ALEXANDER D. MONTERO

28



                                                         -26-
                                             COMPLAINT FOR DAMAGES
Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21              Page 38 of 81 Page ID
                                              #:38




 1                                        JURY TRIAL DEMANDED
2          Plaintiff demands trial of all issues by jury.
 3
     DATED: December 14, 2020                               LAW OFFICES OF RAMIN R. YOUNESSI
 4                                                          A PROFESSIONAL LAW CORPORATION
 5                                                                             _----7

 6                                                          By:
                                                                  Ramin R. Younessi, Esq.
 7                                                                Attorney for Plaintiff
                                                                  ALEXANDER D. MONTERO
 8

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                        -27-
                                           COMPLAINT FOR DAMAGES
                   Case 2:21-cv-01572-DMG-SK                                Document 1 Filed 02/19/21                              Page 39 of 81 Page ID
                                                                                   #:39
Electronica ly FILED by Superior Court of California, County of Los Angeles on 12/14/20NMAlayrri     R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
                                                                                                                                                                       CM-010
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                        FOR COURT USE ONLY
          —Ramin R. Younessi, Esq. (175020)
           Law Offices of Ramin R. Younessi, A.P.L.C.
           3435 Wilshire Boulevard, Suite 2200
           Los Angeles, California 90010
                                     480-6200
                   TELEPHONE NO. (213)                   FAX NO (213) 480-6201
                                        Alexander D. Montero
            ATTORNEY FOR (Name): plaintiff,
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
              STREET ADDRESS: 111 N. Hill Street
              MAILING ADDRESS: same as above
             CITY AND ZIP CODE: Los Ang_eles,California 90012
                 BRANCH NAME: Central District
               CASE NAME:
            Alexander D. Montero v. G4S Secure Solutions (USA) Inc., et al.
                                                                                                                          CASE NUMBER:
              CIVIL CASE COVER SHEET                            Complex Case Designation
               Unlimited             Limited
               (Amount               (Amount              FT Counter            ET Joinder
                                                                                                    JUDGE:
               demanded              demanded   is        Filed  with first appearance by defendant
               exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                                        Items 1-6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
                Auto Tort                                           Contract                                      Provisionally Complex Civil Litigation
                                                                          Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
                     Auto (22)
                     Uninsured motorist (46)                        a       Rule 3.740 collections (09)                  Antitrust/Trade regulation (03)
               Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                       Construction defect (10)
               Damage/Wrongful Death) Tort                                  Insurance coverage (18)                      Mass tort (40)
                     Asbestos (04)                                     Other contract (37)                               Securities litigation (28)
                       Product liability (24)                    Real Property                                           Environmental/Toxic tort (30)
                       Medical malpractice (45)                        Eminent domain/Inverse                            Insurance coverage claims arising from the
                     Other PI/PD/WD (23)                               condemnation (14)                                 above listed provisionally complex case
                                                                       Wrongful eviction (33)                            types (41)
                Non-PI/PD/WD (Other) Tort                        a
                                                                    I1- 1
                                                                       Other real property (26)                   Enforcement of Judgment
                     Business tort/unfair business practice (07)
                     Civil rights (08)                           Unlawful Detainer                                       Enforcement of judgment (20)
                     Defamation (13)                             a     Commercial (31)                            Miscellaneous Civil Complaint
                       Fraud (16)                                           Residential (32)                             RICO (27)
                       Intellectual property (19)                         Drugs (38)                              71 Other complaint (not specified above) (42)
                       Professional negligence (25)                 Judicial Review                               Miscellaneous Civil Petition
                     Other non-P[/PD/WD tort (35)                         Asset forfeiture (05)                        Partnership and corporate governance (21)
                Employment                                                Petition re: arbitration award (11)          Other petition (not specified above) (43)
                 V Wrongful termination (36)                                Writ of mandate (02)
                       Other employment (15)                                Other judicial review (39)
          2. This case      a     is    1- 1 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:
                a. aLarge number of separately represented parties            d.   Large number of witnesses
                b. a     Extensive motion practice raising difficult or novel e. a Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to  resolve            in other counties, states, or countries, or in a federal court
                c.       Substantial amount    of documentary evidence        f. a Substantial postjudgment judicial supervision

          3.    Remedies sought (check all that apply): a.1- 7 monetary b.1- 1 nonmonetary; declaratory or injunctive relief                                   c. E=I punitive
          4.    Number of causes of action (specify): Twelve (12)
          5.    This case         is  n is not a class action suit.
          6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: December 14, 2020
                               Ramin R. Younessi, Esq.
                                             (TYPE OR PRINT NAME)                                               (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                NOTICE
            • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.                            Page 1 of 2

          Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
            Judicial Council of California
                                                                    CIVIL CASE COVER SHEET                                           Cal. Standards of Judicial Administration, std. 3.10
             CM-010 [Rev. July 1, 2007]                                                                                                                            Kww.caurtinfo.ca.gov
         Case 2:21-cv-01572-DMG-SK                       Document 1 Filed 02/19/21                        Page 40 of 81 Page ID
                                                                #:40

                                                                                                                                     CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
                                                             Contract (not unlawful detainer            Construction Defect (10)
     Uninsured Motorist (46) (if the
                                                                 or wrongful eviction)                  Claims Involving Mass Tort (40)
          case involves an uninsured
                                                         Contract/Warranty Breach—Seller                Securities Litigation (28)
         motorist claim subject to
                                                             Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          arbitration, check this item
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
                                                             Warranty                                        (arising from provisionally complex
Other PI/PD/WD (Personal Injury/
                                                         Other Breach of Contract/Warranty                   case type listed above) (41)
Property Damage/Wrongful Death)
                                                    Collections (e.g., money owed, open             Enforcement of Judgment
Tort
                                                         book accounts) (09)                            Enforcement of Judgment (20)
     Asbestos (04)
                                                         Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
         Asbestos Property Damage                                                                                  County)
         Asbestos Personal Injury/                       Other Promissory Note/Collections
                                                             Case                                            Confession of Judgment (non-
                Wrongful Death
                                                    Insurance Coverage (not provisionally                          domestic relations)
     Product Liability (not asbestos or
                                                         complex) (18)                                       Sister State Judgment
          toxic/environmental) (24)
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
                                                         Other Coverage                                          (not unpaid taxes)
          Medical Malpractice—
                                                    Other Contract (37)                                      Petition/Certification of Entry of
                Physicians & Surgeons
                                                                                                                 Judgment on Unpaid Taxes
          Other Professional Health Care                 Contractual Fraud
                                                         Other Contract Dispute                              Other Enforcement of Judgment
                Malpractice                                                                                       Case
     Other PI/PD/WD (23)                         Real Property
                                                    Eminent Domain/Inverse                          Miscellaneous Civil Complaint
          Premises Liability (e.g., slip                                                                RICO (27)
                and fall)                                Condemnation (14)
                                                    Wrongful Eviction (33)                              Other Complaint (not specified
          Intentional Bodily Injury/PD/WD                                                                    above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)             Declaratory Relief Only
          Intentional Infliction of                      Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                        Quiet Title                                         Mechanics Lien
                Emotional Distress                       Other Real Property (not eminent                    Other Commercial Complaint
          Other PI/PD/WD                                 domain, landlord/tenant, or                               Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)                                        Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
        Practice (07)                               Commercial (31)                                 Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                           Abuse
         Legal Malpractice                               Writ—Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ—Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ—Other Limited Court Case                             Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                            Commissioner Appeals
                                                                                                                                        Page 2 of 2
CM-010 [Rev. July 1, 2007]
                                                     CIVIL CASE COVER SHEET
           Case 2:21-cv-01572-DMG-SK                                Document 1 Filed 02/19/21                             Page 41 of 81 Page ID
                                                                           #:41

 SHORT TITLE:                                                                                             CASE NUMBER
             Alexander D. Montero v. G4S Secure Solutions (USA) Inc., et al.


                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.

2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.                            non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                             B                                                       C
                     Civil Case Cover Sheet                                             Type of Action                                      Applicable Reasons -
                           Category No.                                                (Check only one)                                      See Step 3 Above

                             Auto (22)              0    A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11

                     Uninsured Motorist (46)        0    A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11


                                                    0    A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos (04)
                                                    0    A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11


                       Product Liability (24)       0    A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                    0    A7210 Medical Malpractice- Physicians & Surgeons                                   1, 4, 11
                     Medical Malpractice (45)                                                                                               1, 4, 11
                                                    0    A7240 Other Professional Health Care Malpractice

                                                    0    A7250 Premises Liability (e.g., slip and fall)                                     1, 4, 11
                         Other Personal
                         Injury Property            0    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,              1, 4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                           Death (23)                                                                                                       1, 4, 11
                                                    0    A7270 Intentional Infliction of Emotional Distress
                                                                                                                                            1, 4, 11
                                                    0    A7220 Other Personal Injury/Property DamageNVrongful Death




   LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
   LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                            Page 1 of 4
                                 Case 2:21-cv-01572-DMG-SK                        Document 1 Filed 02/19/21                            Page 42 of 81 Page ID
                                                                                         #:42

SHORT TITLE:                                                                                                            CASE NUMBER
                                   Alexander D. Montero v. G4S Secure Solutions (USA) Inc., et al.

                                                 A .                                                         B      ,                                     ' C Applicable
                                       Civil Case Cover Sheet                                          Type of Action '                                  Reasons - See Step 3
                                             Category No,                                             (Check only one)                                         Above

                                         Business Tort (07)         0   A6029 Other Commercial/BusinessTort (not fraud/breach of contract)               1, 2, 3


                      1-
                          o               Civil Rights (08)         0   A6005 Civil Rights/Discrimination                                                1, 2, 3
     12.
     0
   CL                                                                                                                                                    1, 2, 3
                                          Defamation (13)           0   A6010 Defamation (slander/libel)
   Non-Personal Inj




                          rn                 Fraud (16)             0   A6013 Fraud (no contract)                                                        1, 2, 3
                           0

                                                                    0   A6017 Legal Malpractice                                                          1, 2, 3
                          rn        Professional Negligence (25)
                          co                                        0   A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3


                                             Other (35)             0   A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


             0                       Wrongful Termination (36)      2   A6037 Wrongful Termination                                                       1, 2, 3
             E
             0                                                      0   A6024 Other Employment Complaint Case                                            1, 2, 3
             0
             0.                        Other Employment (15)
             E                                                      0   A6109 Labor Commissioner Appeals                                                 10
             w

                                                                    0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2 5
                                                                              eviction)
                                    Breach of Contract/Warranty                                                                                          2, 5
                                                (06)                0   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                          (not insurance)                                                                                                1, 2, 5
                                                                    0   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                         1, 2, 5
                                                                    0   A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                Ca                                                  0   A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                          Collections (09)
                                                                    0   A6012 Other Promissory Note/Collections Case                                     5, 11
                0
                                                                    0   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                              Purchased on or after January 1, 2014)

                                      Insurance Coverage (18)       0   A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                                    0   A6009 Contractual Fraud                                                          1, 2, 3, 5

                                        Other Contract (37)         0   A6031 Tortious Interference                                                      1, 2, 3, 5

                                                                    0   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                                      Eminent Domain/Inverse                                                              Number of parcels              2, 6
                                                                    0   A7300 Eminent Domain/Condemnation
                                        Condemnation (14)

                0.                     Wrongful Eviction (33)       0   A6023 Wrongful Eviction Case                                                     2, 6


            Ce                                                      0   A6018 Mortgage Foreclosure                                                       2, 6
                                      Other Real Property (26)      0   A6032 Quiet Title                                                                2, 6

                                                                    0   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                                    Unlawful Detainer-Commercial                                                                                         6, 11
                                                                    0   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                                (31)
             Unlawful Detainer




                                    Unlawful Detainer-Residential                                                                                        6, 11
                                                                    0   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
                                                (32)
                                        Unlawful Detainer-              A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6, 11
                                                                    0
                                       Post-Foreclosure (34)
                                    Unlawful Detainer-Drugs (38)    0   A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



 LACIV 109 (Rev 2/16)                                               CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
 LASC Approved 03-04                                                   AND STATEMENT OF LOCATION                                                         Page 2 of 4
                                             Case 2:21-cv-01572-DMG-SK                          Document 1 Filed 02/19/21                          Page 43 of 81 Page ID
                                                                                                       #:43

SHORT TITLE:                                                                                                                      CASE NUMBER
                                               Alexander D. Montero v. G4S Secure Solutions (USA) Inc., et al.

                                                              A                                                           B                                     C Applicable
                                                    Civil Case Cover Sheet                                          Type of Adtion                           Reasons - See Step 3
                                                          Category No.                                             (Check only one)                                Above

                                                     Asset Forfeiture (05)        0   A6108 Asset Forfeiture Case                                            2, 3, 6


                                                  Petition re Arbitration (11)    0   A6115 Petition to Compel/ConfirmNacate Arbitration                     2, 5
          Judicial Review




                                                                                  0   A6151 Writ - Administrative Mandamus                                   2, 8

                                                     Writ of Mandate (02)         0   A6152 Writ - Mandamus on Limited Court Case Matter                     2
                                                                                  0   A6153 Writ - Other Limited Court Case Review                           2


                                                  Other Judicial Review (39)      0   A6150 Other Writ /Judicial Review                                      2, 8


                                                Antitrust/Trade Regulation (03)   0   A6003 Antitrust/Trade Regulation                                       1, 2, 8
          Provisionally Complex Litigation




                                                   Construction Defect (10)       0   A6007 Construction Defect                                              1, 2, 3

                                                  Claims Involving Mass Tort                                                                                 1, 2, 8
                                                                                  0   A6006 Claims Involving Mass Tort
                                                             (40)

                                                   Securities Litigation (28)     0   A6035 Securities Litigation Case                                       1, 2, 8

                                                          Toxic Tort                                                                                         1, 2, 3, 8
                                                                                  0   A6036 Toxic Tort/Environmental
                                                      Environmental (30)

                                                 Insurance Coverage Claims                                                                                   1, 2, 5, 8
                                                                                  0   A6014 Insurance Coverage/Subrogation (complex case only)
                                                   from Complex Case (41)

                                                                                  0   A6141 Sister State Judgment                                            2, 5, 11

                                                                                  0   A6160 Abstract of Judgment                                             2, 6
   Enforcement




                                         E               Enforcement              0   A6107 Confession of Judgment (non-domestic relations)                  2, 9
                                         CS)
                                                       of Judgment (20)           0   A6140 Administrative Agency Award (not unpaid taxes)                   2, 8

                                  0                                               0   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax         2, 8

                                                                                  0   A6112 Other Enforcement of Judgment Case                               2, 8, 9


                                                          RICO (27)               0   A6033 Racketeering (RICO) Case                                         1, 2, 8
   Civil Complaints
    Miscellaneous




                                                                                  0   A6030 Declaratory Relief Only                                          1, 2, 8

                                                      Other Complaints            0   A6040 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                                  (Not Specified Above) (42)      0   A6011 Other Commercial Complaint Case (non-tort/non-complex)           1, 2, 8

                                                                                  0   A6000 Other Civil Complaint (non-tort/non-complex)                     1, 2, 8

                                                   Partnership Corporation                                                                                   2, 8
                                                                                  0   A6113 Partnership and Corporate Governance Case
                                                      Governance (21)

                                                                                  0   A6121 Civil Harassment                                                 2, 3, 9
   Miscellaneous
   Civil Petitions




                                                                                  0   A6123 Workplace Harassment                                             2, 3, 9
                                                                                  0   A6124 Elder/Dependent Adult Abuse Case                                 2, 3, 9
                                                      Other Petitions (Not
                                                     Specified Above) (43)        0   A6190 Election Contest                                                 2
                                                                                  0   A6110 Petition for Change of Name/Change of Gender                     2, 7
                                                                                  0   A6170 Petition for Relief from Late Claim Law                          2, 3, 8
                                                                                  0   A6100 Other Civil Petition                                             2, 9




 LACIV 109 (Rev 2/16)                                                             CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3

 LASC Approved 03-04                                                                 AND STATEMENT OF LOCATION                                               Page 3 of 4
           Case 2:21-cv-01572-DMG-SK                   Document 1 Filed 02/19/21                      Page 44 of 81 Page ID
                                                              #:44

 SHORT TITLE:                                                                         CASE NUMBER
                Alexander D. Montero v. G4S Secure Solutions (USA) Inc., et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                  ADDRESS:
   REASON:                                                        4929 Wilshire Boulevard, Suite 601
    0 1. EI 2. R13. 0 4. 0 5. 0 6. 0 7. 0 8. 0 9. 0 10. 0 11.



   CITY:                                  STATE:     ZIP CODE:

   Los Angeles                            CA         90010


Step 5: Certification of Assignment: I certify that this case is properly filed in the Stanley Mosk                    District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: December 14, 2020
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                   CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
  LASC Approved 03-04                       AND STATEMENT OF LOCATION                                                   Page 4 of 4
Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21                 Page 45 of 81 Page ID
                                                #:45

                                                                                                 2019-GEN-014-00

                                                                                     FILED
                                                                             Superior Court of California
 1                                                                             County of Los Angeles

2                                                                                  MAY 02 2019
                                                                         Sherri ,Carter, Es wive Officer/Clerk
3
                                                                              Jeet .,:;             ,Deputy
4                                                                                     Sada Mina

5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                   FOR THE COUNTY OF LOS ANGELES
7

a    IN RE LOS ANGELES SUPERIOR COURT)                  FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FILING )
9    FOR CIVIL
10                                                 )
11
12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:
18   1) DEFINITIONS
19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21                 Page 46 of 81 Page ID
                                                 #:46

                                                                                                2019-GEN-014.00



1      e)   "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
 6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9          process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.
16   2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing
28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.orit.

                                                        2
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:21-cv-01572-DMG-SK                   Document 1 Filed 02/19/21               Page 47 of 81 Page ID
                                                    #:47

                                                                                                 2019-0EN-014-00



1         d) Documents in Related Cases
2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been implemented in that case type, regardless of whether the case has
4            been related to a Civil case.
5    3) EXEMPT LITIGANTS
6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
 7           from mandatory electronic filing requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.
12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections 170.6 or 170.3;
16           ii)    Bonds/Undertaking documents;
17           iii)   Trial and Evidentiary Hearing Exhibits
18           iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20            v)    Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27   I/
28   /I

                                                         3
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:21-cv-01572-DMG-SK                  Document 1 Filed 02/19/21              Page 48 of 81 Page ID
                                                   #:48

                                                                                               2019-GEN-014-00



 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2     Electronic filing service providers must obtain and manage registration information for persons
 3     and entities electronically filing with the court.
 4   6) TECHNICAL REQUIREMENTS
 5     a) Electronic documents must be electronically filed in PDF, text searchable format when
 6         technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookmarked.
 8     c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9        exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10         3.1110(t)(4). Electronic bookmarks must include links to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
14         limited to, the following:
15         i)     Depositions;
16         ii)    Declarations;
17         iii)   Exhibits (including exhibits to declarations);
18         iv)    Transcripts (including excerpts within transcripts);
19         v)     Points and Authorities;
20         vi)    Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
24     f) Accompanying Documents
25        Each document acompanying a single pleading must be electronically filed as a separate
26        digital PDF document.
27     g) Multiple Documents
28        Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                       4
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21                  Page 49 of 81 Page ID
                                               #:49

                                                                                               2019•GEN-014-00



1      h) Writs and Abstracts
2         Writs and Abstracts must be submitted as a separate electronic envelope.
3      i) Sealed Documents
4         If and when a judicial officer orders documents to be filed under seal, those documents must be
5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6         the documents as sealed at the time of electronic submission is the submitting party's
7         responsibility.
8      j) Redaction
9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14     a) Filed Date
15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document's filing date
25            conform to the attempted transmission date.
26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28         than 10:00 a.m. the court day before the ex parte hearing.

                                                        5
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-01572-DMG-SK                   Document 1 Filed 02/19/21               Page 50 of 81 Page ID
                                                   #:50

                                                                                                2019•GEN-014-00



       b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2             day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3             application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6             be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7             the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8             by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10            electronic submission) is required for the following documents:
I1            i)    Any printed document required pursuant to a Standing or General Order;
12            ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                  pages or more;
14           iii)   Pleadings and motions that include points and authorities;
15           iv)    Demurrers;
16            v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17           vi)    Motions for Summary Judgment/Adjudication; and
18           vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20            additional documents. Courtroom specific courtesy copy guidelines can be found at
21            www.lacourt.org on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24            received a fee waiver. (California Rules of Court, rules 2.253(b)O, 2.258(b), Code Civ. Proc. §
25     .      1010.6(d)(2).)
26         b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27            section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28             electronically filed in any authorized action or proceeding.

                                                          6
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:21-cv-01572-DMG-SK                Document 1 Filed 02/19/21                Page 51 of 81 Page ID
                                                 #:51

                                                                                               2019-GEN-014-00



1 11) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5
6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge.
9
                                        co
10   DATED: May 3, 2019
                                                          KEVIN C. BRAZILE
11
                                                          Presiding Judge
12
13
14
15
16

17
18
19
20
21

22
23
24
25
26
27
28

                                                        7
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-01572-DMG-SK                       Document 1 Filed 02/19/21               Page 52 of 81 Page ID
                                                       #:52




                                     VOLUNTARY EFFICIENT LI11GATION STIPULATIONS


                                       The Early Organizational Meeting Stipulation, Discovery
                                     Resolution Stipulation, and Motions in Liming Stipulation are
     Sang orley Court eff Conleadm
     Cant off Les Amadeu
                                     voluntary stipulations entered into by the parties. The parties
                                     may enter into one, two, or all three of thy stipulations;
                                     however, they may not alter the stipulations as written,
                                     because the Court wants to ensure uniformity of application.
     Lea Angotee County
     Bar Azionclation                Thes    stipulations are meant to encourage cooperation
     LitigelOan Sserden
     Lea Annals County
                                     between the parties and to assist in resolving Issues in a
     Oar AneetalaUen Leber end
     angdaynsani Ls= Section         manner that promotes economic case resolution and judicial
                                     efficiency.

      eflir
       11
     COnatritOr
                  !)31Clelo;,4
                  a! t ra Aa,^ri:r


                    Alteniar;
                                         The following organizations endorse           the goal of
     Asseekdan aP14113 Angeles       promoting efficiency In litigation and ask that counsel
                                     consider using these stipulations as a voluntary way to
                                     promote communications and procedures among counsel
                                     and with the court to fairly resolve issues in their cases.

                                     *Los Angeles County ar Association Uti ation Section*
     Seettiens Calikeela
     Memo Camel
                                                * Los Angeles County Bar Association
                                                   Labor and Employment Law Section.
                   050..11,

     Assoc:lotion el
     Bushman Taal Lawyers                *Consumer Attorneys Association of Los regales


                                              OS       hern California Def ns Counsel


                                              <>Association of usin = ss Trial Lawyers*
         ,,t\C
     Cet3ternia Eiegorgneal
     LevNese Aseettetlen
                                          *C Mamie Empl yment Lawy rs Association*

        LACIV 230 (NM
        LASC Appeved 411
        Re Opllanal Use
Case 2:21-cv-01572-DMG-SK                                          Document 1 Filed 02/19/21            Page 53 of 81 Page ID
                                                                          #:53




   44119 03 AlIZAS.11311F AlrlaVa4v OW NOiv ailes74.ff arl MUdir             UM cusi itimaiii            Fkaastallotho.re.ludas,




               TELAPHolvZ NO.:                                     FAx O. (000314
    244Ari.. ADDRESS 40:30:1A):
       arfaXt %/Raft(Paamor.
   SUPERBO c COURT OF C LIFORN6A, COUNTY sF LOS ANGELES
   mom-muse AD51- 1'"-----
  7 1- .AINuFf:

   CSVENOANT:

                                                                                                cam Nagailua:
                         STIPULATION — DISCOVERY RESOLUTION
            •

          This stipulation Is intended to provide a fast and informal resolution of discovery issues
          through limited paperwork and an informal conference with the Court to aid In the
          resolution of the issues.
          The parties agree that:

          1. Prior to the discovery cut-off in this action. no discovery motion shall be filed or heard unless
             the moving party first makes a written request for an Informal Discovery Conference pursuant
             to the terms of this stipulation.

          2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
             and determine whether It can be resolved informally. Nothing set forth herein will preclude a
             party from making a record at the conclusion of an informal Discovery Conference, either
             orally or In writing.

          3. Following a reasonable and good faith attempt at an Informal resolution of each Issue to be
             presented, a party may request an informal Discovery Conference pursuant to the following
             procedures:

                      a. The party requesting the Informal Discovery Conference will:

                           I.      File a Request for Informal Discovery Conference with the clerk's office on the
                                   approved form (copy attached) and deliver a courtesy, conformed copy to the
                                   assigned department;

                         II.       Include a brief summary of the dispute and specify the relief requested; and

                         ill,      Serve the opposing party pursuant to any authorized or agreed method of service
                                   that ensures that the opposing party receives the Request for Informal Discovery
                                   Conference TM later than the next court day following the filing.

                      b. Any Answer to a Request for Informal Discovery Conference must:

                           I.      Also b€ filed on the approved form (copy attached);

                         Ii.       Include a brief summary of why the requested relief should be denied;
         LAC3V ova (stew)
         LASC Approved 0,4/1I                          STKPULATION — DOSCOVERY RESOLUTION
         Far Opllomill Use                                                                                                Page I of 3
Case 2:21-cv-01572-DMG-SK                       Document 1 Filed 02/19/21                          Page 54 of 81 Page ID
                                                       #:54




      &KOMI VIIUg                                                                  CU   ICJA0tri




                           Be filed within two (2) court days of receipt of the Request; and

                     iv.   Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that ensures that the opposing party receives the Answer no
                           later than the next court day following the filing.
            c,      No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                    be accepted.

            d. If the Court has not granted or denied the Request for Informal Discovery Conference
               within ten (90) days following the filing of the Request, then it shall be deemed to have
               been denied. if the Court acts on the Request, the parties will be notified whether the
               Request for Informal Discovery Conference has been granted or denied and, if granted,
               the date and time of the Informal Discovery Conference, which must be within twenty (20)
               days of the tiling of the Request for Informal Discovery Conference.

            e. If the conference Is not held within twenty (20) days of the filing of the Request for
               Informal Discovery Conference, unless extended by agreement of the parties and the
               Court, then the Request for the Informal Discovery Conference shall be deemed to have
               been denied at that time.

     4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference Is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

           It is the understanding and intent of the parties that this stipulation shall, for each discovery
           dispute to which it applies, constitute a writing memorializing a "specific later dale to which
           the propounding or demanding or requesting] party and the responding party have agreed in
           writing,' within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
           2033,290(c).

     6. Nothing herein wilt preclude any party from applying ex pane for appropriate relief. Including
        en order shortening time for a motion to be heard concerning discovery.

     7, Any party may terminate this stipulation by giving twenty-one (21) days notice of Intent to
        terminate the stipulation.

     8. References to "days" mean calendar days, unless otherwise noted, If the date for performing
        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the lime
        for performing that act shalt be extended to the next Court day.



     LACJV 035 (olm)
     LASC App oved 04111             STOPULATION        DISCOVERY RESOLUTION
     For Opllanal the                                                                                     Page 2 013
Case 2:21-cv-01572-DMG-SK                  Document 1 Filed 02/19/21              Page 55 of 81 Page ID
                                                  #:55




      ulaqf 11/1C                                                    GAUD:U.4YR




      The following parties stipugate:

      Data:
                    (TYPE OR P war NAME)                           (ATTORNEY FOR ktAturliFF)
      Date:
                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFEtEDAN1I
      Dale:
                    (TYPE OR PRINT NAVET                       m igtratNEY FOR DEfFENOANT)
      Date:
                    (TYPE OR PRINT Nam)                           (ATTONNEY tOR DEFENDANT)
      Data:

                    (TYPE OR PRINT NAME)                   (ATTORNEY FOR
      Data:

                    (TYPE OR PRINT NAME/                   (ATTORNEY FOR
      Dale:

                    (TYPE OR PRINT NAME)                   (ATTORNEY FOa




      LAMCO (naw)
      (LASC Agoved 04111           STIPULATM — DISCOVERY RESOLUTION                            Pap 3 of 3
      Far 090431Use
Case 2:21-cv-01572-DMG-SK                                  Document 1 Filed 02/19/21            Page 56 of 81 Page ID
                                                                  #:56




   Itata AM A=21407 ATIOZgeti OW O.alsIVIMIIMO .T1,14.1i                Olaf                     Vevenvd k. tote g I h




               11121.EPHONE                                FA) NO. (Olittoro*
    E.Wukti. ADORE-SS (00=44
       ATTORNEY FORIdatuttD
   SUP           OR COURT OF C La= RNIA, COUNTY OF LOS ANGELES
   COORTkOLSS ADDRSU:

   PLAINTIFF:

   DEFENDANT:


              STIPULATION — EARLY ORGANIZATIONAL MEETING

         This stipulatIon Is Intended to encourage cooperation among the parties at an early stage in
         the negation and to assist the parties In efficient case solution.
         The parties agree that:
         1. The parties commit to conduct an Initial conference (in-person or via teleconference or via
            vldeoconference) within 15 days from the date this stipulation is signed, to discuss and consider
            whether !hare can be agreement on the following:
                a.   Are motions to challenge the pleadings necessary? if the Issue can be resolved by
                     amendment as of right, or if the Court would allow leave to amend. could an amended
                     complaint resolve most or all of the issues a demurrer might otherwise raise? if so, the parties
                     agree to work through pleading issues so that a demurrer need only raise issues they cannot
                     resolve. Is the Issue that the defendant seeks to raise amenable to resolution on demurrer, or
                     would some other type of motion be preferable? Could a voluntary targeted exchange of
                     documents or information by any party cure an uncertainty in the pleadings?
                b. initial mutual exchanges of documents at the 'core' of the litigation. (For example, in an
                   employment case, the employment records, personnel file and documents relating to the
                   conduct In question could be considered "core.' in a personal injury case, an incident or
                   police report, medical records, and repair or maintenance records could be considered
                   "core.");
                c. Exchange of names and contact information of witnesses;
                d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                   indemnify or reimburse for payments made to satisfy a judgment;

                e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                   or resolution of the case In a manner that preserves ol*ctions or privileges by agreement

                f. Controlling Issues of law thee if resolved early, will promote efficiency and economy in other
                   phases of the case. Also, when and how such issues can be presented to the Court

                g. Whether or when the case should be scheduled with a settlement officer. what discovery or
                   court ruing an legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
        IACIV 229 pay 02115)
        LASC Approved 04111
        For Opdarissl Use
                                         STIPU             - EAiiLY ()Rem ,TIONAL MEETING                                Page 1of 2
Case 2:21-cv-01572-DMG-SK                         Document 1 Filed 02/19/21                            Page 57 of 81 Page ID
                                                         #:57




      0.04i Ilgag                                                                      CAI C Ml141.‘




                    discussed in the 'Alternative Dispute Resolution (ADR) information Package' served with the
                    complaint;
           h. Computation of damages, Including documents, not privileged or protected from disclosure, on
              which such computation is based;
           i. Whether the case Is suitable for the Expedited Jury Trial procedures (see Information at
              rAffmw.lecourt orq under 'Civi/ and then under "General information").
      2.            The time for a defending party to respond to a complaint or cross-complaint wilt be extended
                    to                           for the complaint, and                                 for the cross-
                              (MEAT ome)                                          paw tIATE)
                    complaint, which is comprised of the 30 days to respond under Government Code § 88816(b),
                    and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                    been found by the Civil Supervising Judge due to the case management benefits provided by
                    this Stipulation. A copy of the General Order can be found at www.lecourLaro under "CAC
                    click on 'General Information*, then click on 'Voluntary Efficient Litigation Stipulations'.

     3.             The parties will prepare a Joint report tilled 'Joint Status Report Pursuant to Initial Conference
                    and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                    results of their meet and confer and advising the Court of any way It may assist the parties'
                    efficient conduct or resolution of the case, The parties shall attach the Joint Status Report to
                    the Case Management Conference statement, and file the documents when the CMC
                    statement is due.
     4.             References to "days' mean calendar days, unless otherwise noted. If the date for performing
                    any act pursuant to this stipulation fails on a Saturday, Sunday or Court holiday, then the time
                    for performing that act shall be extended to the next Court day
     The following parties stipulate:
     Delo:

                      (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
     Dale:

                      (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFEtdDANT)
     Dale:

                      (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
     Date:

                      (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
     Dale:

                      (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Date:

                      (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Data

                      (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


     LACIV          02/15)
           229 (Rev 04111
     LASC Approved               STIPULATION — EARLY ORGANIZATii NAL MEETING                                  Page 2 012
Case 2:21-cv-01572-DMG-SK                                     Document 1 Filed 02/19/21                         Page 58 of 81 Page ID
                                                                     #:58




   Smut AND atISMIll CO AttelArtrUA PaAIM vaTitOLLa nINDAKT              MAUI= 01%4=1                           ROZ.V.11.0 17...1.140++.4.




          TVLEPteetlie NO.•                                   Piet NO (OA=ly
   EVALLADVRESS ICeneete!):
     ATIONSf FOf4 (Pantr11;
   SUPERIOR COURT OF CALIF RICA, COUNTY OF LOS ANGELES
   4euereadtfioefteSS:
   PlJegleFf:

   OEFEKANt.

                                                                                                       CASH PASOCUL
                       ONFORFINAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
         1. This document relates le:
                            Request for Informal Discovery Conference
                            Answer to Request for informal Discovery Conference
         2. Deadline for Court to decide on Request:                             (testul dal© to seleeder days railoy.loil riBog of
            Isae Resticisl)
         3. Deadline for Court to hold Informal Discovery Conference:                                   (Insad Oats 20 szieociar
                cloys Wowing Sling or the Requos().
         4. For a Request for informal Discovery Conference, briefly describe th nature of the
            discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
            Request for Informal Discovery Conference, brioN describe why the Court should deny
            the requested discovery, Including the facts and legal ar uments at issue.




         LACIF 094 (now)
         LASC Porepostl 04101                     U FORV1AL DISCOVERY CONFERENCE
         Fcsr Optlarus] Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:21-cv-01572-DMG-SK                                    Document 1 Filed 02/19/21          Page 59 of 81 Page ID
                                                                    #:59




   tal.94 AF.113 ACIVIXIa CV A TTINCiat YOa Pia     MIISPI                        GAP NVOILSR    wee./ LW Mk • na




            TELEPHONE W.:                                     PAX HO 40paanz1):
    E4AAIL AMUSE (Opilumt):
       ASTORNET LOA
   SUPERIOR CeURT '1 F CALIFORNSIA1 COUNTY OF LO ANGELES
   cOuRrwouse PSFOREE,4:

   PLAINTWF:

   DEFEND ST:



                      ST1PU T TOON AND ORDER — IIOTION9S BN LU1I II'


           This stipulation Is Intended to provide fast and informal resolution of evideMlary
           issues through diligent efforts to define and discuss such issues and limit pa • ?-rwork.


           The parties agree that:
                   At least       days before the final status conference, each party will provide all other
                   parties with a list containing a one paragraph explanation of each proposed motion in
                   limine. Each one paragraph explanation must identify the substance of a single proposed
                   motion In limine and the grounds for the proposed motion.
           2. The parties thereafter will meet and confer, either in person or via teleconference or
              videoconference, concerning all proposed motions in iimine. In that meet and confer, the
              parties will determine:

                   a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                      stipulate, they may file a stipulation and proposed order with the Court.

                   b. Whether any of the proposed motions can be briefed and submitted by means of a
                      short joint statement of issues. For each motion which can be addressed by a short
                      joint statement of issues, a short joint statement of Issues must be filed with the Court
                      10 days prior to the final status conference. Each side's portion of the short joint
                      statement of issues may not exceed three pages. The parties will meet and confer to
                      agree on a date and manner for exchanging the parties' respective portions of the
                      short joint statement of issues and the process for filing the short joint statement of
                      issues.

           3. All proposed motions In Wine that are not either the subject of a stipulation or briefed via
              a short joint statement of issues wilt be briefed and tiled in accordance with the California
              Rules of Court and the Los Angeles Superior Court Rules.



           LAW 075 (new)
           LAW Approyad 0401                      STIPULATION AND ORDER — MOTIONS IN LIMIT E
           For Optional Use                                                                                     Page 1 al 2
Case 2:21-cv-01572-DMG-SK                    Document 1 Filed 02/19/21                    Page 60 of 81 Page ID
                                                    #:60




      sxaz,s Brfig                                                     CALI 04.1341111%




      The following partEtes stIgnallate:
      Data:

                     (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
      Date:
                                                         ;-
                     (rePE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
      Date:
                     (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
      bade:

                     (TYPE OR PRINT PiAME)                        (ATTORNEY FOR DEFENDANT)
      Dale:

                     (TYPE OR PRINT NAME)                     (ATTORNEY FOR
      Date:
                                                         o
                     (TYPE OR PRINT NAME)                     (ATTORNEY FOR
      Date:

                     (TYPE OR PRINT NAME)                     (ATTORNEY FOR


      THE COURT SO 0 MRS,


                                                                        JUDICIAL OFFICER




      LACHV 075 Hir.w)
      LASC AlagtHoved 04/16    STIPULATU N AND ORDER — IIfIOTIONS (N MINE                        Pu90 7 at 2
   Case 2:21-cv-01572-DMG-SK                    Document 1 Filed 02/19/21                   Page 61 of 81 Page ID
                                                       #:61



                   Superior Court of California, County of Los Angeles



                         ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                INFORMATION PACKAGE

1-IE KAINTIFEMPS.T.*VETHISAD.R..INFP010701:0kPAckAGEO.N EACH -PARTYWITH-fHE•
                                                                   .• •   •,., COMPLAINT
                                                                               •

 CROSS-COMPLAINANTS:mu:st servethiS'ADR friformatiory:PacKage on any new parties named to the action
 with the'CrOsi-COMplaint




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR:
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev. 01/20
                                                                                                                         1
    For Mandatory Use
   Case 2:21-cv-01572-DMG-SK                     Document 1 Filed 02/19/21                      Page 62 of 81 Page ID
                                                        #:62


                                     How tO.arrange mediation in Loi Angeles'County

   Mediation for civil cases- is Voluntary'and parties may select any mediator they wish OptiOnS include

               The Civil:Mediation
                          ,    .      Vendor: Resc:oifriettit
                                                       •                                 •     •
               If all parties agree to mediation, they may contact these.organi;ations to request a "FtesoUree.Listr-
               Mediationll, for rpediatidn at. reduced cost or no cOsf(for.selectect caSes): .               •
                     •
               • ADR ServiceS, Inc. Case Manager patriciaeadrServices.corii:(310) 20,1-0010 (Ext. 261)
               • . JAMS, Inc..Senior.CaSeManager mbindei@iainiadr.COM.(310)309-204
                   Mediation Center of Los Angeles (MCL.A) P.r405,frilVlanager.infb6MediationIA.OrA
                       o, Oply_MCLARrovideS,MediatiOn:in persOri;-by:Phone'end:byVideocOnfereiice;
                                                                        .
                                                                                         •
           These organizations'cannot`accept every case and they'rriay decline cases at their diScretion.
              Visit Www.lacourt.org/ADR:Res.ListIOriniPOrtant informatiOn and F,ACis:before contacting them
             - NOTE; This program does not acep.t family law, prbbate, or small:claims cases.

               Los Angeles County DispUterfesolution,FrOgiams: •,
                                                                          ,,
               httos'://wdacS:lacOunty.govjprogramsidr
                   • '-Srriall ClaiMS;UnlaWfuldetainti" XtionSj'and,'at:the•Spring Street CourthOUSe,:limitedciVil:
                            o `'Free; clay.; of-trial mddiations at the courthoUse. NO apPOihiMent needect,
                            o Free                                                oftriaL , '• .
                                  - or low-cost mediations before the• day                       .   ,                      .
                            o: For free,orflow-Cost Online Dispute..Resolution (9D1i) by phone or                    before the
                                `day of trial-Visit                  _ •                   I            ,




                  —              http:11wvokla court.orgidivisidn/ simlIclaims /pdtI OnlineDisbuteResolutionFIN;1er
                                                          . ..                                          ., • . ;:...
                                 EngSoan.pdf-- -               4r •,, ':T.f. .,-,
                                                          t       4.-Yir s , 4.
                                                                   '''‘' .— 4 '..",l't -
               Mediators and ADR and Bar orga.nizations that provide mediation may ,be found on the Internet. -




    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
       person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
       information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

    4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
       date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
       make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
       a settlement. For information about the Court's MSC programs for civil cases, visit
       http://www.lacourt.orgiclivisionicivil/C10047.aspx


Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



LASC CIV 271 Rev. 01/20
For Mandatory Use


                                                                                                                                  2
       Case 2:21-cv-01572-DMG-SK                      Document 1 Filed 02/19/21                    Page 63 of 81 Page ID
                                                             #:63

                                                                                                Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                     FILED
 Stanley Mosk Courthouse                                                                       Stipsdot Codtl. ti California
                                                                                                 County of Los Angstss
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                     12/14/2020
                   NOTICE OF CASE ASSIGNMENT                                          Di R'arter, IE01K.1--.,:i 0 HU' al (auk of Cozzi
                                                                                       Ey.'        D. Williams              Depity
                        UNLIMITED CIVIL CASE

                                                                                CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV47683


                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   1     Randolph M. Hammock                47




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/15/2020                                                        By D. Williams                                       , Deputy Clerk
               (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:21-cv-01572-DMG-SK                       Document 1 Filed 02/19/21                       Page 64 of 81 Page ID
                                                               #:64

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
          Case 2:21-cv-01572-DMG-SK                         Document 1 Filed 02/19/21                  Page 65 of 81 Page ID
                                                                   #:65
                                                                                                       Reserved for Clerk's He Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES                                                                       FILED
    COURTHOUSE ADDRESS:
                                                                                                     Superior Court of California
                                                                                                       county of LosAngsfes
    Stanley Mosk Courthouse
    111 North Hill Street, Los Angeles, CA 90012                                                            01/04/2021
    PLAINTIFF:                                                                              Sherri €L Carlos'. Execuem0Sox / Cie& of Cdtr
    Alexander D. Montero                                                                                       C. Hironaka             Deputy
    DEFENDANT:
    G4S SECURE SOLUTIONS (USA) INC., a Florida corporation et a
                                                                                                CASE NUMBER:
                 NOTICE OF CASE MANAGEMENT CONFERENCE                                           20STCV47683
TO THE PLAINTIFFS)/ATTORNEY(S) FOR PLAINTIFFS) OF RECORD:

You are ordered to serve this notice,of hearing on all parties/attorneys of record forthwith, and meet.and-confer
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                       Data:                      Time:                Dept.:
                                               03/24/2021                 8:30 AM               47

NOTICE TO DEFENDANT:              THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                    DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively In the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.) ,

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may IMpose sanctions, pursuant              &ocal Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Cod              8$08-sulilaipainanhaNgales of
                                                                                  t ma
Court, rule 2.2 et seq.                                                        S. Q.
Dated:      01/04/2021                                                                          RandelphYl. Hammock/ judge
                                                                                                 Judicial Officer

                                                       CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

2 by depositing in the United States mail at the courthouse in Los Angeles                   , California, one copy of the original
      filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

0     by personally giving the party notice upon filing of the complaint.
                                                    - - -
                           7 -
       Ramin R. Younessi, Esq.
       3435 Wilshire Boulevard
       Suite 2200
       Los Angeles, CA 90010                                                 Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 01/04/2021                                                                                    By G. Hironaka
                                                                                                                        Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                      Cal. Rules of Court, rules 3.720-3.730
LASC Approved10.03
                                           NOTICE OF                                                        LASC Local Rules, Chapter Three
For Optional Use                 CASE MANAGEMENT CONFERENCE
   Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21                    Page 66 of 81 Page ID
                                                  #:66

                                                                                         Reserved for Clerk's Fite Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                               FILED
                                                                                        Stipa/kr Court of California
Stanley Mosk Courthouse                                                                   County of Los Angelas
111_North Hill Street, Los Angeles, CA 90012                                                   0110412021
PLAINTIFF/PETITIONER:                                                            Scaci R CsSnr. ExxIAN'a CLECW 1 Clack at Caul
Alexander D. Montero                                                              By:           G:Hirortaka          body


DEFENDANT/RESPONDENT:
G4S SECURE SOLUTIONS (USA) INC., a Florida corporation et al
                                                                                 CASE NUMBER:
                        CERTIFICATE OF MAILING                                   20STCV47683
                                                                           ' •
I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not' a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




   Ramin R. Younessi
   Law Offices Ramin R. Younessi, A Professional Law
   Corporation
   3435 Wilshire Boulevard
   Suite 2200
   Los Angeles, CA 90010




                                                           • •   •

                                                       '              '•
     •




                                                     Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 01/4/2021                                     By:   G. Hironaka
                                                           Deputy Clerk




                                     CERTIFICATE OF MAILING
          Case 2:21-cv-01572-DMG-SK        Document 1 Filed 02/19/21              Page 67 of 81 Page ID
                                                  #:67




SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES                                                                                    U.S. POSTAGE>>PITNEY BOWES
                                                                                                                   . 4"L=iff
                                                                                                              /.7.iar          irims
CENTRAL DISTRICT-STANLEY MOSK COURTHOUSE
CIVIL DIVISION                                                                                           ZIP 90012 $      000.50 o
111 NORTH HILL STREET                                                                                    02 4r1
LOS ANGELES, CALIEDR411.0, 90012                                                                         0000336112 JAN 05 2021
            DEVI • 41




                                                                                      JAN 0 7 2021
                                                                                         ..................
                                   SO0i0$2009   C0471
                                                            sillpill lib isI pi   it)I 1I 11 II I' II
Case 2:21-cv-01572-DMG-SK   Document 1 Filed 02/19/21   Page 68 of 81 Page ID
                                   #:68




               Exhibit B
Electronically FILED by Superior Court of California, County of Los Angeles on 02/17/2021 01:02 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Ramos,Deputy Clerk
                        Case 2:21-cv-01572-DMG-SK                           Document 1 Filed 02/19/21                              Page 69 of 81 Page ID
                                                                                   #:69



                          1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                            JOHN HAUBRICH, SB# 228341
                          2   E-Mail: Christina.Guerin@lewisbrisbois.com
                            CHRISTINA M. GUERIN, SB# 210066
                          3   E-Mail: Christina.Guerin@lewisbrisbois.com
                            650 Town Center Drive, Suite 1400
                          4 Costa Mesa, California 92626
                            Telephone: 714.545.9200
                          5 Facsimile: 714.850.1030

                          6 Attorneys for Defendant G4S Compliance &
                            Investigations, Inc.
                          7

                          8

                          9                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                         10                                    COUNTY OF LOS ANGELES, CENTRAL DISTRICT

                         11

                         12 ALEXANDER D. MONTERO,                                                            Case No. 20STCV47683

                         13                           Plaintiff,                                             DEFENDANT G4S COMPLIANCE &
                                                                                                             INVESTIGATIONS, INC.'S ANSWER TO
                         14               vs.                                                                PLAINTIFF'S COMPLAINT

                         15 G4S SECURE SOLUTIONS (USA) INC., a
                            Florida corporation; G4S COMPLIANCE &                                            Assigned for All Purposes to:
                         16 INVESTIGATORS INC., a North Carolina                                             Hon. Randolph Hammock
                            corporation; and DOES 1 through 20,
                         17 inclusive,                                                                       Action Filed:                    December 14, 2020
                                                                                                             Trial Date:                      None Set
                         18                           Defendants.

                         19

                         20               Defendant G4S Compliance & Investigations, Inc., erroneously sued and served as G4S

                         21 Compliance & Investigators Inc., ("Defendant") hereby responds to the Complaint for Damages

                         22 ("Complaint") of Plaintiff Alexander D. Montero ("Plaintiff") as follows:

                         23                                                              GENERAL DENIAL

                         24               1.          Under the provisions of section 431.30 of the California Code of Civil Procedure,

                         25 Defendant denies each, every, and all of the allegations of the Complaint, and the whole thereof,

                         26 and denies that Plaintiff has sustained damages in the sum alleged, or in any other sum, or at all.
                         27               2.          Further answering Plaintiff's Complaint, and the whole thereof, Defendant denies

                         28 that Plaintiff has sustained any injury, damage or loss by reasons of any act or omissions or
     LEWIS
     BRISBOIS
     BISGAARD
     & SMITH LLP
                               4844-8059-0045.1                                                          1
     ATTORNEYS AT LAW             DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21            Page 70 of 81 Page ID
                                                                  #:70



                     1 negligence on the part of this answering Defendant, or its agents or employees.

                     2                                         AFFIRMATIVE DEFENSES

                     3                                     FIRST AFFIRMATIVE DEFENSE

                     4                                      (Failure to State a Cause of Action)

                     5            3.        Neither the Complaint nor any purported cause of action alleged therein states a claim

                     6 upon which relief can be granted, either as directly alleged against Defendant or as alleged pursuant

                     7 to an alter ego theory of liability.

                     8                                    SECOND AFFIRMATIVE DEFENSE

                     9                                            (Statute of Limitations)

                    10            4.        Plaintiff's Complaint, and each and every cause of action therein, is barred by the

                    11 applicable statutes of limitations including, but not limited to, the statutes of limitations set forth in

                    12 Code of Civil Procedure sections 335.1, 337, 337.1, 337.1(a)(1), 337.1(a)(2), 337.1(b), 337.15(a)(2),

                    13 337.15(g), 338(a), 338(b), 338(c), 338(d), 338.2, 338.3, 338.4, 339(1), 339.1, 340, 342, 343, 359,

                    14 Government Code sections 12960 and 12965, Civil Code section 3144, and Labor Code section

                    15 203(b).

                    16                                     THIRD AFFIRMATIVE DEFENSE

                    17                                (Failure to Exhaust Administrative Remedies)

                    18            5.        Defendant is informed and believes and thereon alleges that all causes of action

                    19 within the Complaint are barred because Plaintiff has failed to satisfy the statutory prerequisites to

                    20 sue and to exhaust administrative remedies under the Fair Employment and Housing Act ("FEHA"),

                    21 Government Code section 12940 et seq., the Equal Employment Opportunity Commission

                    22 ("EEOC"), 42 U.S.C. section 2000e et seq. (Title VII of the Civil Rights Act of 1964 ["Title VII"]),

                    23 and/or any other applicable administrative remedy.

                    24                                    FOURTH AFFIRMATIVE DEFENSE

                    25                                    (No Entitlement to Punitive Damages)

                    26            6.        The Complaint, and each and every cause of action set forth therein alleged against
                    27 Defendant, fails to state facts sufficient to recover punitive or exemplary damages or to show that

                    28 Defendant acted with malice, oppression or fraud as required by Code of Civil Procedure section
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                     2
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21            Page 71 of 81 Page ID
                                                                  #:71



                     1 3294. Defendant did not act with malice, oppression or fraud as those terms are defined by statute.

                     2                                     FIFTH AFFIRMATIVE DEFENSE

                     3                                           (Procedural Due Process)

                     4            7.        Plaintiff's Complaint, to the extent that it seeks punitive or exemplary damages,

                     5 violates the rights of Defendant to procedural due process under the Fourteenth Amendment to the

                     6 United States Constitution and under the Constitution of the State of California and, therefore, fails

                     7 to state a cause of action upon which punitive or exemplary damages may be awarded.

                     8                                     SIXTH AFFIRMATIVE DEFENSE

                     9                                               (Indemnification)

                    10            8.        Defendant is informed and believes and thereon alleges that all of the acts and/or

                    11 omissions alleged in the Complaint were solely, entirely, and fully those of other parties named or

                    12 unnamed herein other than Defendant, and that therefore such parties are fully and solely liable to

                    13 Plaintiff and that Defendant is entitled to total or complete indemnification from such parties,

                    14 including, but not limited to, any and all damages, costs, and attorney's fees that may be sustained

                    15 as a result of Plaintiff's claims.

                    16                                   SEVENTH AFFIRMATIVE DEFENSE

                    17                                                (Plaintiff's Acts)

                    18            9.        Defendant is informed and believes and thereon alleges that Plaintiff's damages, if

                    19 any, were caused by Plaintiff's own intentional or negligent acts, thus barring or limiting Plaintiff's

                    20 right of recovery.

                    21                                    EIGHTH AFFIRMATIVE DEFENSE

                    22                                            (Business Justification)

                    23            10.       Defendant is informed and believes and thereon alleges that its activities, undertaken

                    24 with respect to Plaintiff, were justified as such activities were proper, fair, and legitimate business

                    25 activities and/or due to business-related reasons which were neither arbitrary, capricious, nor

                    26 unlawful.
                    27 / / /

                    28 / / /
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                     3
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21           Page 72 of 81 Page ID
                                                                 #:72



                     1                                     NINTH AFFIRMATIVE DEFENSE

                     2                                        (Immunity/Discretionary Acts)

                     3            11.       Defendant is informed and believes and thereon alleges that any and all conduct of

                     4 which Plaintiff complains and which is attributed to Defendant or its agents or employees was a just

                     5 and proper exercise of management's discretion, and was undertaken for a fair and honest reason

                     6 and regulated by good faith and probable cause under the circumstances existing at all times

                     7 mentioned in Plaintiff's Complaint and Defendant therefore is immune from any liability.

                     8                                    TENTH AFFIRMATIVE DEFENSE

                     9                       (Legitimate Non-Retaliatory and Non-Discriminatory Actions)

                    10            12.       Defendant is informed and believes and thereon alleges that Plaintiff is barred from

                    11 any recovery in this action because all of Defendant's actions toward Plaintiff were taken for

                    12 legitimate, non-retaliatory, and non-discriminatory reasons.

                    13                                  ELEVENTH AFFIRMATIVE DEFENSE

                    14                                              (Good Faith Belief)

                    15            13.       Defendant is informed and believes and thereon alleges that Plaintiff's Complaint,

                    16 and each and every cause of action set forth therein alleged against Defendant, is barred, in whole

                    17 or in part, because actions taken with respect to Plaintiff's employment, if any, were based on an

                    18 honest, reasonable, and good faith belief in the facts as known and understood at the time.

                    19                                  TWELFTH AFFIRMATIVE DEFENSE

                    20                                          (No Knowledge or Notice)

                    21            14.       Defendant is informed and believes and thereon alleges that Plaintiff's claims for

                    22 relief pursuant to the FEHA are barred because Defendant did not have knowledge of or notice of

                    23 any alleged violation of the FEHA.

                    24                                THIRTEENTH AFFIRMATIVE DEFENSE

                    25                                                 (Ratification)

                    26            15.       Defendant is informed and believes and thereon alleges that Plaintiff and/or any
                    27 agents of Plaintiff, at all times, ratified the acts, purported omissions, representations, and/or other

                    28 conduct of Defendant as alleged in Plaintiff's Complaint.
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                    4
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21            Page 73 of 81 Page ID
                                                                 #:73



                     1                                FOURTEENTH AFFIRMATIVE DEFENSE

                     2                                  (Failure to Exhaust–Internal Procedures)

                     3            16.       Defendant is informed and believes and thereon alleges that Plaintiff's Complaint is

                     4 barred, as valid and proper company policies and procedures prohibiting retaliation and unlawful

                     5 discrimination based on disability and/or any other classification protected by law, were in place at

                     6 all relevant times. Plaintiff failed to comply with these policies and procedures, failed to notify

                     7 Defendant, and/or otherwise failed to exhaust the available remedies under these established internal

                     8 complaint and grievance procedures.

                     9                                  FIFTEENTH AFFIRMATIVE DEFENSE

                    10                                              (Business Necessity)

                    11            17.       Defendant is informed and believes and thereon alleges that its actions, if any, were

                    12 required by business necessity.

                    13                                  SIXTEENTH AFFIRMATIVE DEFENSE

                    14                                           (Unintentional Conduct)

                    15            18.       Defendant is informed and believes and thereon alleges that the retaliatory and

                    16 discriminatory conduct that Plaintiff alleges was not intentional.

                    17                               SEVENTEENTH AFFIRMATIVE DEFENSE

                    18                                      (No Adverse Employment Action)

                    19            19.       Defendant is informed and believes and thereon alleges that Plaintiff's causes of

                    20 action are barred in that Plaintiff suffered no adverse employment action during his employment.

                    21                                EIGHTEENTH AFFIRMATIVE DEFENSE

                    22                                               (Undue Hardship)

                    23            20.       Defendant is informed and believes and thereon alleges that Plaintiff's Complaint and

                    24 each claim set forth therein, or some of them, are barred because assuming arguendo that Defendant

                    25 owed Plaintiff a reasonable accommodation, to further accommodate Plaintiff would impose an

                    26 undue hardship on the operations of Defendant's or its client's business.
                    27

                    28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                     5
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21           Page 74 of 81 Page ID
                                                                 #:74



                     1                                NINETEENTH AFFIRMATIVE DEFENSE

                     2                                           (Essential Job Function)

                     3            21.       Defendant is informed and believes and thereon alleges that Plaintiff's causes of

                     4 action are barred because, assuming arguendo Plaintiff was a qualified individual with a disability,

                     5 Plaintiff was unable to perform the essential functions of his position even with reasonable

                     6 accommodation.

                     7                                 TWENTIETH AFFIRMATIVE DEFENSE

                     8                                   (Pre-Existing Psychological Condition)

                     9            22.       Defendant is informed and believes and thereon alleges that Plaintiff's causes of

                    10 action are barred because, to the extent Plaintiff suffered any symptoms of mental or emotional

                    11 distress or injury, they were the result of a pre-existing psychological disorder or alternative

                    12 concurrent cause, and not the result of any act or omission of Defendant.

                    13                               TWENTY-FIRST AFFIRMATIVE DEFENSE

                    14                                               (Unclean Hands)

                    15            23.       Defendant is informed and believes and thereon alleges that the Complaint, and each

                    16 and every purported cause of action contained therein, is barred in that Plaintiff is guilty of wrongful

                    17 misconduct and/or omissions in connection with the claims that form the basis of this litigation,

                    18 including but not limited to the facts concerning Plaintiff's employment, and therefore each and

                    19 every claim should be barred from all legal or equitable relief requested in the Complaint or

                    20 otherwise by reason of unclean hands. Defendant may learn facts in written discovery and/or at

                    21 Plaintiff's deposition that may demonstrate Plaintiff's own wrongful conduct caused or contributed

                    22 to the allegations set forth in the Complaint, which would allow Defendant to assert the equitable

                    23 remedy of unclean hands at the time of trial.

                    24                             TWENTY-SECOND AFFIRMATIVE DEFENSE

                    25                                                  (Estoppel)

                    26            24.       Defendant is informed and believes and thereon alleges that Plaintiff is estopped by
                    27 his own conduct from asserting any and all claims he may have or has against Defendant arising

                    28 from the transactions and occurrences set forth in the Complaint. Defendant may learn facts in
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                    6
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21            Page 75 of 81 Page ID
                                                                  #:75



                     1 written discovery and/or at Plaintiff's deposition that may demonstrate Plaintiff's own wrongful

                     2 conduct caused or contributed to the allegations set forth in the Complaint, which would allow

                     3 Defendant to assert the equitable remedy of estoppel at the time of trial.

                     4                               TWENTY-THIRD AFFIRMATIVE DEFENSE

                     5                                                    (Waiver)

                     6            25.       Defendant is informed and believes and thereon alleges that Plaintiff waived any and

                     7 all claims that he may have had or has against Defendant arising from the transactions and

                     8 occurrences set forth in the Complaint. Defendant may learn facts in written discovery and/or at

                     9 Plaintiff's deposition that may demonstrate Plaintiff engaged in conduct that would constitute a

                    10 waiver, which would allow Defendant to assert the equitable remedy of waiver at the time of trial.

                    11 Defendant further alleges that Plaintiff may have or has consented to and/or waived any and all

                    12 rights he may have had relative to the matters alleged in the Complaint by failing, refusing and

                    13 neglecting to properly perform his obligations thereunder and by undertaking other conduct, the

                    14 exact nature of which will be inserted herein by amendment or proved at the time of trial.

                    15                              TWENTY-FOURTH AFFIRMATIVE DEFENSE

                    16                                                   (Consent)

                    17            26.       Defendant is informed and believes and thereon alleges that Plaintiff, at all relevant

                    18 times, gave his consent, express or implied, to the alleged acts, omissions and conduct of Defendant.

                    19 Defendant may learn facts in written discovery and/or at Plaintiff's deposition that may demonstrate

                    20 Plaintiff engaged in conduct that would establish consent to the conduct alleged in the Complaint,

                    21 which would allow Defendant to assert the equitable remedy of consent at the time of trial.

                    22                               TWENTY-FIFTH AFFIRMATIVE DEFENSE

                    23                                          (No Prejudgment Interest)

                    24            27.       Defendant is informed and believes and thereon alleges that Plaintiff's claim for

                    25 prejudgment interest is barred because Plaintiff sustained no damages and/or sustained no damages

                    26 for which prejudgment interest is recoverable.
                    27 / / /

                    28 / / /
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                     7
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21            Page 76 of 81 Page ID
                                                                  #:76



                     1                               TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     2                                            (Speculative Damages)

                     3            28.       Defendant is informed and believes and thereon alleges that Plaintiff is precluded

                     4 from recovering the damages alleged in the Complaint because those damages are too vague,

                     5 uncertain, and speculative to permit recovery and/or are otherwise not allowable by law.

                     6                             TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                     7                                              (Failure to Mitigate)

                     8            29.       Defendant is informed and believes and thereon alleges that, if Plaintiff suffered any

                     9 damages as a result of the facts alleged in the Complaint, which Defendant denies, Plaintiff is not

                    10 entitled to recover the amount of damages alleged or any damages due to Plaintiff's failure to make

                    11 reasonable efforts to mitigate or minimize the damages incurred.

                    12                              TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                    13                                          (After-Acquired Evidence)

                    14            30.       Defendant is informed and believes and thereon alleges that Plaintiff's Complaint is

                    15 limited or subject to an absolute bar as to recoverable damages based on after-acquired evidence

                    16 Defendant has presently and/or may acquire during the course of this litigation.

                    17                               TWENTY-NINTH AFFIRMATIVE DEFENSE

                    18                                          (Avoidable Consequences)

                    19            31.       Defendant is informed and believes and thereon alleges that Plaintiff is precluded

                    20 from asserting the Complaint and each purported cause of action therein, because Plaintiff failed to

                    21 exercise reasonable care to avoid the injuries he purportedly suffered.

                    22                                  THIRTIETH AFFIRMATIVE DEFENSE

                    23                                           (Workers' Compensation)

                    24            32.       Plaintiff is barred from seeking any damages for purported physical, mental, or

                    25 emotional injuries allegedly suffered as a result of his employment in that the sole and exclusive

                    26 remedy in this respect is and was governed by the California Workers' Compensation Act, California
                    27 Labor Code sections 3200-4627.

                    28 / / /
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                     8
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21           Page 77 of 81 Page ID
                                                                 #:77



                     1                                THIRTY-FIRST AFFIRMATIVE DEFENSE

                     2                                              (No Wages Owed)

                     3            33.       Defendant is informed and believes and thereon alleges that Plaintiff's claims for

                     4 unpaid regular or overtime wages are barred because Plaintiff's employer timely paid all wages owed

                     5 to him.

                     6                              THIRTY-SECOND AFFIRMATIVE DEFENSE

                     7                                                 (No Penalties)

                     8            34.       Defendant is informed and believes and thereon alleges that Plaintiff's claims for

                     9 penalties for untimely payment of wages or "waiting time" penalties and/or any other claimed

                    10 penalty are barred because Defendant did not intentionally or willfully withhold payment of wages.

                    11                               THIRTY-THIRD AFFIRMATIVE DEFENSE

                    12                                                  (Payment)

                    13            35.       Defendant is informed and believes and thereon alleges that Plaintiff has been paid

                    14 all sums earned by him and that are due and owing by virtue of his performance of work as alleged

                    15 in the Complaint.

                    16                              THIRTY-FOURTH AFFIRMATIVE DEFENSE

                    17                                          (Labor Code Section 226)

                    18            36.       Defendant is informed and believes and thereon alleges that Plaintiff's claim for

                    19 inaccurate wage statements under Labor Code section 226 is barred because Defendant did not

                    20 provide inaccurate wage statements and therefore Plaintiff cannot recover damages or statutory

                    21 penalties under Labor Code section 226.

                    22                               THIRTY-FIFTH AFFIRMATIVE DEFENSE

                    23                                (Labor Code Section 226 – No Actual Injury)

                    24            37.       Defendant is informed and believes and thereon alleges that Plaintiff did not suffer

                    25 an actual injury and therefore cannot recover damages or statutory damages or penalties under Labor

                    26 Code section 226.
                    27

                    28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                    9
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21            Page 78 of 81 Page ID
                                                                 #:78



                     1                                THIRTY-SIXTH AFFIRMATIVE DEFENSE

                     2                                               (Rest Period Law)

                     3            38.       Defendant is informed and believes and thereon alleges that, pursuant to the

                     4 applicable wage order(s), Defendant "authorized and permitted" Plaintiff to take rest periods.

                     5                             THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                     6                                              (Meal Period Law)

                     7            39.       Defendant is informed and believes and thereon alleges that, pursuant to the

                     8 applicable wage order(s), Defendant "provided" Plaintiff with the ability to take meal periods.

                     9                              THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                    10                            (Superseding, Intervening Conduct of Third Parties)

                    11            40.       Defendant is informed and believes and thereon alleges that Plaintiff's alleged

                    12 injuries or damages were proximately and legally caused by the superseding and intervening conduct

                    13 on the part of third parties, persons, and entities other than Defendant and that, by virtue of said

                    14 intervening and superseding conduct, Defendant has no legal liability to Plaintiff herein.

                    15                               THIRTY-NINTH AFFIRMATIVE DEFENSE

                    16                                    (Mistake of Fact and Mistake of Law)

                    17            41.       Defendant is informed and believes and thereon alleges that Plaintiff's claims are

                    18 barred by either a mistake of fact or a mistake of law or both.

                    19                                  FORTIETH AFFIRMATIVE DEFENSE

                    20                                      (Civil Code Section 1431.1 et seq.)

                    21            42.       The liability of Defendant, if any, for the non-economic damages claimed by Plaintiff

                    22 is limited by California Civil Code section 1431.1 et seq.

                    23                                FORTY-FIRST AFFIRMATIVE DEFENSE

                    24                                                (Mixed-Motive)

                    25            43.       Defendant is informed and believes and thereon alleges that Plaintiff is precluded

                    26 from recovery of reinstatement, back pay, or damages because of the mixed motive doctrine.
                    27 (Harris v. City of Santa Monica (2013) 56 Cal.4th 203, 232.)

                    28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                    10
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK              Document 1 Filed 02/19/21            Page 79 of 81 Page ID
                                                                 #:79



                     1                               FORTY-SECOND AFFIRMATIVE DEFENSE

                     2                              (Actions Not Based on Protected Characteristic)

                     3            44.       Defendant's actions towards Plaintiff, if any, were based upon factors other than

                     4 Plaintiff's disability or other medical condition.

                     5                                FORTY-THIRD AFFIRMATIVE DEFENSE

                     6                                        (Reasonable Accommodation)

                     7            45.       Defendant is informed and believes and thereon alleges that Defendant made all

                     8 accommodations that were reasonably necessary to accommodate Plaintiff's alleged disability.

                     9                               FORTY-FOURTH AFFIRMATIVE DEFENSE

                    10                                                   (Privilege)

                    11            46.       Defendant is informed and believes and thereon alleges that Defendant's conduct

                    12 with regard to Plaintiff was privileged, justified, and in good faith. Defendant is entitled to all

                    13 privileges available to it to the extent allowed by the California Civil Code, including but not limited

                    14 to Civil Code section 47.

                    15                                FORTY-FIFTH AFFIRMATIVE DEFENSE

                    16                                      (No Equitable or Injunctive Relief)

                    17            47.       Defendant is informed and believes and thereon alleges that Plaintiff is not entitled

                    18 to any equitable or injunctive relief as prayed for in the Complaint, because he has an adequate

                    19 remedy at law.

                    20                                FORTY-SIXTH AFFIRMATIVE DEFENSE

                    21                                                    (Offset)

                    22            48.       Defendant is informed and believes and thereon alleges that any recovery on

                    23 Plaintiff's Complaint, or on any purported cause of action therein, is barred in whole or in part

                    24 because Defendant is entitled to an offset for any monies Plaintiff received from any source after

                    25 Plaintiff ceased to be employed by Defendant under the doctrine prohibiting double recovery as set

                    26 forth in Witt v. Jackson (1961) 57 Cal.2d 57 and its progeny.
                    27 / / /

                    28 / / /
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                    11
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                   Case 2:21-cv-01572-DMG-SK               Document 1 Filed 02/19/21             Page 80 of 81 Page ID
                                                                  #:80



                     1                              FORTY-SEVENTH AFFIRMATIVE DEFENSE

                     2                                        (No Regular Business Practice)

                     3            49.       Plaintiff's Complaint fails to establish a regular business practice or unlawful pattern

                     4 of conduct by Defendant.

                     5                               FORTY-EIGHTH AFFIRMATIVE DEFENSE

                     6                                     (No Knowledge of Protected Activity)

                     7            50.       Plaintiff's claims are barred, in whole or in part, because Defendant had no

                     8 knowledge that Plaintiff engaged in any protected activity.

                     9                                 FORTY-NINTH AFFIRMATIVE DEFENSE

                    10                                               (Unknown Defenses)

                    11            51.       Defendant is informed and believes and thereon alleges that it may have other

                    12 separate and/or additional defenses of which they are not presently aware, and hereby reserves the

                    13 right to assert them by amendment to this Answer as discovery continues.

                    14                                            PRAYER FOR RELIEF

                    15            WHEREFORE, Defendant prays for judgment as follows:

                    16            1.        That Plaintiff take nothing by way of the Complaint or any of his purported claims

                    17 for relief;

                    18            2.        That the Complaint be dismissed with prejudice in its entirety;

                    19            3.        That judgment be entered in favor of Defendant; and

                    20            4.        That this Court award to Defendant such other and further relief as the Court may

                    21 deem just and proper, including attorney's fees and costs as allowable by law.

                    22

                    23 DATED: February 17, 2021                         LEWIS BRISBOIS BISGAARD & SMITH LLP

                    24

                    25
                                                                        By:
                    26                                                        CHRISTINA M. GUERIN
                                                                              Attorneys for Defendant G4S Compliance &
                    27                                                        Investigations, Inc.
                    28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
                         4844-8059-0045.1                                     12
ATTORNEYS AT LAW           DEFENDANT G4S COMPLIANCE & INVESTIGATIONS, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                                    Case 2:21-cv-01572-DMG-SK         Document 1 Filed 02/19/21 Page 81 of 81 Page ID
                                                                                #:81
                                             Alexander D. Montero v. G4S Secure Solutions (USA), Inc., et al.
                                             LASC Case No.: 20STCV47683
                                         1                                     PROOF OF SERVICE

                                         2           I am a resident of the State of California, over the age of eighteen years, and not a party
                                             to the within action. My business address is: Gordon Rees Scully Mansukhani, LLP 633 West
                                         3   Fifth Street, 52nd floor, Los Angeles, CA 90071. On February 19, 2021, I served the within
                                             documents:
                                         4
                                             DEFENDANT G4S SECURE SOLUTIONS (USA) INC. NOTICE OF
                                         5   REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441(B) (DIVERSITY
                                             JURISDICTION)
                                         6

                                         7
                                             
                                              BY E-MAIL OR ELECTRONIC TRANSMISSION Based on agreement by the parties to
                                              accept service by e-mail or electronic transmission, I caused the document(s)
                                         8         described above to be sent from e-mail address rhernandez@grsm.com to the persons
                                                   at the e-mail address listed below. I did not receive, within a reasonable time after the
                                         9         transmission, any electronic message or other indication that the transmission was
                                                   unsuccessful.
                                        10
                                             Ramin R. Younessi, Esq.
                                        11   LAW OFFICES OF RAMIN R. YOUNESSI
  Gordon Rees Scully Mansukhani, LLP




                                             A PROFESSIONAL LAW CORPORATION
                                        12
    633 West Fifth Street, 52nd floor




                                             3435 Wilshire Boulevard, Suite 2200
                                             Los Angeles, CA 90010
                                        13
        Los Angeles, CA 90071




                                             Telephone: (213) 480-6200
                                             Facsimile: (213) 480-6201
                                        14   Email: ryounessi@younessilaw.com
                                        15   Attorney for Plaintiff,
                                             Alexander D. Montero
                                        16

                                        17
                                                    I am readily familiar with the firm’s practice of collection and processing correspondence
                                        18   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                             day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                                        19   motion of the party served, service is presumed invalid if postal cancellation date or postage
                                             meter date is more than one day after the date of deposit for mailing in affidavit.
                                        20
                                                      I declare under penalty of perjury under the laws of the State of California that the above
                                        21   is true and correct.
                                        22          Executed on February 19, 2021 at Los Angeles, California.
                                        23

                                        24
                                                                                                                Rachel Hernandez
                                        25

                                        26
                                        27

                                        28
1229834/56307217v.1
